Case 5:22-cv-02822-EJD Document 1-2 Filed 05/12/22 Page 1 of 79




            EXHIBIT 1
                                     Case 5:22-cv-02822-EJD Document 1-2 Filed 05/12/22 Page 2 of 79
                                                                                                                                                                                                      SUM-100
                                                             SU MMONS                                                                                              O
                                                                                                                                                                       FOR COURTUSE ONLY
                                                                                                                                                                         ARA USO DE LA CORTE’
                                                  (CITA CION JUDICIAL)                                                                                     E-FiiE’
                                                                                                                                                           3/8/2022 2:53                     PM
NOTICE To DEFENDANT-
(AVIso AL DEMANDADO):                                                                                                                                      g'erkr‘ijfrcgunrt
ASSURION UBIF FRANCHISE, LLC, a Delaware                                                 limited liability   company;                                      CUPe °                  8°”
                                                                                                                                                                                               0f     CA     ’




andDOES 1-50, inclusive,                                                                                                                                       ounty 0 f              anta CI ara
You ARE BEING SUED BY                                  PLAINTIFF:                                                                                         220Y395674
(Lo ESTA DEMANDANDo EL DEMANDANTE):                                                                                                                        Revnewed By: P. Newton
 MATTHEW DOHERTY, an individual,                                                                                                                           Envelope: 8459609

 NOTICE! You have been sued. The                       court   may     decide against you without your being heard unless you responc within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS                        after this   summons and
                                                                     papers are served on you to file a written response at this court and have a copy
                                                                                       legal
 served on the        plaintiff.      A letter or phone call will  Your written response must be in proper legal form if you want the court to hear your
                                                                        not protect you.
 case. There may be a court form that you can use for your response. You can ﬁnd these court forms and more information at the California Courts
 Online Self—Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the ﬁling fee, ask the
 court clerk for a fee waiver form. If you do not ﬁle your response on time, you may lose the case by default, and your wages, money, and properly may
 be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonproﬁt groups at the California Legal Services                          Web   site (www.lawhelpcalifornia.org), the California       Courts Online Self—Help Center
 (www.coun‘info.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 [A VISO! Lo han demandado. Si no responde dentro de 30 dias, Ia corte puede decidir en su contra sin escuchar su versién. Lea                                                     Ia   informacién a
 continuacio’n.
     Tiene 30 DIAS DE CALENDARIO después de que le entreguen esta citacién y papeles legales para presenter una respuesta por escrito en esta
 con‘e y hacer que se entregue una copia al demandante. Una carta o una llamada telefénica no Io protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la corte y ma’s informacién en eI Centro de Ayuda de Ias Cortes de California (www.sucorte.ca.gov), en Ia
 biblioteca de leyes de su condado o en Ia corte que le quede ma’s cerca. Si no puede pagarla cuota de presentacién, pida al secretario de Ia corte que
 Ie dé un formulario de exencién de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte Ie podra'

 quitar su sueldo, dinero y bienes sin ma’s advertencia.
    Hay otros requisitos Iegales. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
 remisio’n a abogados. Si no puede pagar a un abogado, es posible que cumpla con Ios requisitos para obtener servicios legales gratuitos de un
 programa de seNicios legales sin ﬁnes de lucro. Puede encontrar estos grupos sin ﬁnes de lucro en el sitio web de California Legal Services,
 (www.Iawhelpcalifornia.org), en el Centro de Ayuda de Ias Cortes de California, (www.sucon‘e.ca.gov) o poniéndose en contacto con Ia corte o el
 colegio de abogados locales. AVISO: Por Iey, la corte tiene derecho a reclamar Ias cuotas y Ios costos exentos por imponer un gravamen sabre
 cualquier recuperacién de $10,000                   c')   ma’s de valor recibida mediante un acuerdo o una concesién de arbitraje en un caso de derecho                                     civil.   Tiene que
 pagar el gravamen de                 Ia corte   antes de que     Ia   corte   pueda desechar el caso.
The name and address of the court is: Superior Court                                   of the State of    Canfomia                        CASE NUMBER: (Namero del Caso):
(El nombre y direccio’n de la corte es):
County       of   Santa Clara
                                                                                                                                                         220v395674
191 North First Street,                 San Jose, CA 951 13
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney,                                            is:        (El   nombre,   la direccién             y el nL'Imero
de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
 Brock     & Gonzales                LLP, 6701 Center Drive West, Ste. 610, Los Angeles,                         CA 90045,         (310) 294-9595

DATE:          3/8/2022 2:53                     PM                Clerk of Court                                      Clerk, by
                                                                                                                                              P N ewt on
                                                                                                                                                     '
                                                                                                                                                                                                       .
                                                                                                                                                                                                           Deputy
(FeCha)                                                                                                                (Secretario)                                                                    (Adﬂmto)
(For proof of service of this                    summons, use Proof of Service                 of   Summons      (form POS-010).)
(Para prueba de entrega de esta citatién use el formulario Proof of Service of                                              Summons, (POS—010)).
                                                       NOTICE TO THE PERSON SERVED: You                                are served
 [SEAL]
                                                       1.

                                                       2.
                                                              E
                                                              E        as an individual defendant.
                                                                       as the person sued under the ﬁctitious                 name    of (specify):


                                                       3.     E        on behalf of      (specify):


                                                               E
                                                               under:

                                                               E                  CCP 416.10
                                                                                  CCP 416.20
                                                                                                    (corporation)                           E
                                                                                                                                            E             CCP 416.60
                                                                                                                                                          CCP 416.70
                                                                                                                                                                              (minor)



                                                               E                  CCP 416.40
                                                                                                    (defunct corporation)

                                                                                                                                            E             CCP 416.90
                                                                                                                                                                              (conservatee)
                                                                                                                                                                              (authorized person)



                                                              EE
                                                                                                    (association or partnership)
                                                                                  other (specify):
                                                      4.               by personal delivery on         (date):
                                                                                                                                                                                                                       of
                                                                                                                                                                                                           Pa_ge   1        1

Form Adopted   for   Mandatory Use
                                                                                                SU M MONS                                                              Code                Procedure §§ 412.20, 465




                                                                                                                                                                                   lﬁ
                                                                                                                                                                              of   Civil
Judicial Council of California                                                                                                                                                                    www‘couds‘cagov
SUM-100    [Rev. July   1,   2009]

For your protection and privacy, please press the Clear
This Form button after you have printed the form.                                        I   Print this   form     I    I   Save   this   form   I
Case 5:22-cv-02822-EJD Document 1-2 Filed 05/12/22 Page 3 of 79




            EXHIBIT 2
ATTORNEY OR PARTY WITHOUT ATTORNEY        Case 5:22-cv-02822-EJD
                                                   (Name, Bar number, and Document 1-2 Filed 05/12/22 Page
                                                                       State                               4 of 79
                                                                                                   address):
                                                                                                         FOR COURT USE ONLY
D. Aaron Brock SBN: 241 91 9
Brock          & Gonzales LLP, 6701 Center                            Drive West, Ste. 610, Los Angeles,                        CA 90045
                TELEPHONE No: (31 0) 294-9595                                           FAX NO-    (Optional):   (31 0)     961-3673
               E-MAIL ADDRESS:
                                                                                                                                                         Electronically Filed
        ATTORNEY FOR         (Name): Plaintiff,           Matthew Doherty
                                                                                                                                                         by Superior Court of CA,
SUPERIOR COURT 0F CALIFORNIA, COUNTY OF SANTA CLARA
 STREET ADDRESS: 191 North First Street
                                                                                                                                                         County of Santa Clara,
MAILING ADDRESS:                 191 North First Street
                                                                                                                                                         on 3/8/2022 2:53 PM
CITY AND ZIP CODE:               San Jose, CA 951 13                                                                                                     Reviewed By: P. Newton
         BRANCH NAME:                                                                                                                                    Case #22CV395674
CASE NAME:                                                                                                                                               Envelope: 8459609
 Matthew Doherty                     v.   Assurion Ubif Franchise          LLC

              CIVIL        CASE COVER SHEET                                                                                                               CASE NUMBER             22CV395674
                                                                                              Complex Case Designation
E              Unlimited                         E         Limited                         E
                                                                                         Filed with
                                                                                                      Counter

                                                                                                         first
                                                                                                                               E
                                                                                                                 appearance by defendant
                                                                                                                                        Joinder

               épe‘rrnnZﬂted                               ééEZﬂted                                                                                       JUDGE;
                                                                               is
                                                                                              (Cal.      Rules of Court,
                                                                                                                     DEPT:          rule 3.402)
               exceeds $25,000)                            $25,000 or less)
                                                             Items 1—6 below must be completed (see instructions on page 2).

 1.       Check one box below                         for the   case type that best describes                     this      case:
         Auto Tort

         E           Auto (22)
                                                                                         Contract

                                                                                         E         Breach of contract/warranty (06)
                                                                                                                                                       Provisionally


                                                                                                                                                       E
                                                                                                                                                       (Cal.
                                                                                                                                                                          Complex        Civil Litigation
                                                                                                                                                               Rules of Court, rules 3.400—3.403)

         |:|         Uninsured motorist (46)
         Other PIIPDNVD (Personal InjurylProperty
         DamageIWrongful Death) Tort
                                                                                         E
                                                                                         |:|

                                                                                         E
                                                                                                   Rule 3.740 collections (09)
                                                                                                   Other collections (09)                              E
                                                                                                                                                       E
                                                                                                                                                                Antitrust/Trade regulation (O3)

                                                                                                                                                                Construction defect (10)

                                                                                                                                                                Mass


         E
         |:|         Asbestos-(0_4I)
                                                                                         |:|
                                                                                                   Insurance coverage (18)

                                                                                                   Othercontract(37)                                   E
                                                                                                                                                       E
                                                                                                                                                                        tort (40)

                                                                                                                                                                Securities litigation (28)



         E
         E
                     Productllablllty (24)

                     Medlcal malpracnce (45)

                     Other      PVPD/WD
                                                                                         Real Property

                                                                                         E         Eminent domain/lnverse                              E        Environmental/Toxic           tort (30)

                                                                                                                                                                Insurance coverage claims arising from the
                                                                                                                                                                above   listed provisionally        complex case

         Non-PIIPDNVD (Other) Tort
                     Business         tort/unfair
                                                 (23)



                                                       business practice (O7)
                                                                                         E
                                                                                         E
                                                                                                   condemnation (14)
                                                                                                   Wrongful eviction (33)
                                                                                                   Other    real property (26)
                                                                                                                                                            types (41)
                                                                                                                                                       Enforcement of Judgment

                                                                                                                                                       E        Enforcement ofjudgment (20)
                     Civil rights (08)                                                   Unlawful Detainer
                                                                                                                                                       Miscellaneous          Civil   Complaint
                                                                                         |:|       Commercial (31)
         EEDEDE
                     Defamation (13)
                     Fraud (16)
                     Intellectual property (19)
                                                                                         E
                                                                                         E         Residential (32)

                                                                                                   DrUQS (38)
                                                                                                                                                       |:|
                                                                                                                                                       E
                                                                                                                                                                RICO    (27)

                                                                                                                                                                Other complaint (not speciﬁed above) (42)
                                                                                                                                                       Miscellaneous          Civil Petition
                     Professional negligence (25)                                        JUd'c'a'

                                                                                         |:|
                                                                                                      ReV'eW
                                                                                                   Asset                                               E
                                                                                                                                                       E
                                                                                                                                                                Partnership and corporate governance (21)
         |:|
         Employment
         E
                     Other non-PI/PD/WD                  tort (35)

                                                                                         E
                                                                                         E
                                                                                                           forfeiture (05)

                                                                                                   Petition re: arbitration

                                                                                                   WritOf mandate (02)
                                                                                                                                    award (11)                  Other   petition (not     speciﬁed above) (43)




N
         E E E
          This case
                     Wrongful termination (36)
                     Other employment(15)

                                            is                  is   not    complex under
                                                                                         E         Otherjudicial review(39)

                                                                                                         rule    3.400 of the California Rules of Court.                 If   the case      is   complex, mark the
                                                                           management:
          E
          factors requiring exceptional judicial



          E
         a.

         b.
                           Large number of separately represented parties
                           Extensive motion practice raising                           difficult   or novel
                                                                                                                       d.

                                                                                                                       e.
                                                                                                                             E
                                                                                                                             E       Large numberof witnesses
                                                                                                                                     Coordination with related actions pending                      in   one or more
                           issues that                  be time-consuming               to resolve                                   courts        other counties, states, or countries, or                      a federal

          E
                                                 will                                                                                         in                                                            in




                                                                                                                            EE
         c.                Substantial           amountof documentary evidence                                                       court


3         Remedies sought (check allthatapply):a.
          Number                causes of action             (specify): 5
                                                                                       E       monetary           b.
                                                                                                                       f.            Substantial postjudgmentjudicial supervision
                                                                                                                                nonmonetary; declaratory or injunctive                     relief   c.    E        punitive

4.

5
6         If
            E E
          This case
                           of



               there are any
                                            is

                                           known
                                                                is   not
                                                        related cases,
                                                                                a class action
                                                                               file
                                                                                                       suit.

                                                                                      and serve a notice           of related case.          (You     ay use             CM—015.)
                                                                                                                                                                 forQ
Date: 03/08/2022
D.      Aaron Brock
                                                      0R PRINT NAME)                                                                          '
                                            (TYPE                                                                                                   (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                                                                 NOTICE
    °    Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed

         under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
         in    sanctions.
    °                      cover sheet
         File this                               in   addition to      any cover sheet required by                      local court rule.
    °
         If   this   case       is   complex under            rule    3.400 et seq. of the California Rules of Court, you must serve a copy of                                         this   cover sheet on         all

         other parties to the action or proceeding.
    -    Unless        this is        a collections case under rule 3.740 or a complex case,                                    this   cover sheet     will    be used    for statistical        purposes        only.
                                                                                                                                                                                                                  Page     1   of 2

Form Adopted               Mandatory Use                                                                                                                          Cal. Rules of Court, rules 2.30, 3.220, 3.400—3.403, 3.740;
                     for
     Judicial Council of California
                                                                                           CIVIL       CASE COVER SHEET                                                   Cal.   Standards of Judicial Administration.   std.   3.10
                                  Case 5:22-cv-02822-EJD Document 1-2 Filed 05/12/22 Page 5 of 79
                                       INSTRUCTIONS 0N How To COMPLETE THE COVER SHEET                                                                                                    CM-010
To   Plaintiffs and Others Filing First Papers. If you are ﬁling a first paper (for example, a complaint) in a civil case, you must
complete and ﬁle, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information wi|| be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes 0f action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the ﬁrst paper ﬁled in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.

To Parties in Rule 3.740 Collections Cases. A "collections case“ under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which

property, services, or money was acquired 0n credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it wi|| be exempt from the general
time-for—service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case wi|| be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may ﬁle and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter—designation that the case is not complex, or, if the plaintiff has made no designation, a designation that

the case is complex.                                      CASE TYPES AND EXAMPLES
  Auto Tort                                      contra“                                            Provisionally Complex Civil Litigation (Cal.
                                                     Breac“ 0f 0°”traCt’Warranty (06)               Rules of Court Rules 3400—3403)
     Auto (22)—Persona| Injury/Property
            Damage/Wrongful Death
                                                                Bream       Of Rental/Lease
                                                                                                                                                 Antitrust/Trade Regulation (03)
                                                                                                                                        _




          Uninsured Motorist (46) (if the
                                                                        contra“           ("0t     ”n’anUI detamer                               Construction Defect (10)
                                                                        or wrongful eviction)
           case involves an uninsured                                                                                                            Claims Involving Mass Tort (40)
                                                                Contract/Warranty Breach—Seller
           motorist claim subject to                                                                                                             Securities Litigation (28)
                                                                         Plaintiff (not           fraud or negligence)
           arbitration,    check      this   item                                                                                                Environmental/Toxic Tort (30)
                                                                Negligent Breach of Contract/
           instead ofAuto)                                                                                                                       Insurance Coverage Claims
                                                                        warranty
 Other PIIPDNVD (Personal Injuryl                                                                                                                      (arising from provisionally complex
 Property Damage/Wrongful Death)                                Other      Bream          0f contraCt/Vvarranty
                                                                                                                                                       case type listed above) (41)
 Tort
                                                            Collections (e.g.,money owed, open                                              Enforcement of Judgment
                                                                b°°k alccounts) (09)                                                           Enforcement of Judgment (20)
        Asbestos (04)                                                                                               .               ,


                                                                COI'eCt'on case'sener Plamt'ﬁ
          Asbestos Property Damage                                                                                                                Abstract of Judgment (Out of
                                                                Other Promissory Note/Collections
          Asbestos Personal Injury,                                                                                                                  County)
              Wrongful Death
                                                                        case                                                                  Confession of Judgment (non-
                                                                                                                .       .


                                                            Insurance coverage ("0t prov’s’onally
        Product Liability (not asbestos or                                                                                                        domestic relations)
            toxic/environmental) (24)
                                                               complex) (18)                                                                  Sister State     Judgment
                                                                                          ,


                                                               AUto Smegat'on
         Medical Malpractice (45)                                                                                                             Administrative     Agency Award
                                                               Other coverage
             Medical Malpractice—                                                                                                                 (not unpaid taxes)
                                                            Other contraCt (37)
                    Physicians        & Surgeons                                                                                               Petition/Certiﬁcation of Entry of
                                                               contradual Fraud
        Other Professional Health Care                                                                                                            Judgment on Unpaid Taxes
                                                               Other contraCt D'SpUte                                                          Other Enforcement of Judgment
                 Malpractice
                                                         Rea' PF°P°W
        Other PI/PD/WD (23)                                                       ,
                                                                                                                                                    Case
                                                            Em'nent Doma'P/lnverse
           Premises Liability             (e.g., slip                                                                                       Miscellaneous       Civil   Complaint
                    and   fa")
                                                               COndemnathn (14)                                                                RICO    (27)
             Intentional Bodily           Injury/PDNVD
                                                            wronngI EViCtion (33)                                                              Other Complaint (not speciﬁed
                                                                                                            I                   ,


                                                            Other Real Property (e.g., qunet title) (26)
                     (e.gu assault, vandalism)                                                                                                     above) (42)
                                                               Writ of Possession of Real Property
             Intentional Inﬂiction 0f                                                                                                              Declaratory Relief Only
                    Emotional Distress
                                                               Mortgage Foredosure                                                                 Injunctive Relief Only (non-
                                                                Qu'et     T'tle
             Negligent       Infliction    of                                                                               ,
                                                                                                                                                        harassment)
                     Emotional Distress                         OtherReal PrOperty                   ("0t   emment                                 Mechanics Lien
        Other PIIPDNVD                                          domam’       landlord/tenant' 0r
                                                                                                                                                   Other Commercial Complaint
 Non-PI/PD/wo (Other) Tort                                      fO’eC’Oﬁure)
                                                                                                                                                           Case (non-tort/non-comp/ex)
     Business Tort/Unfair Business
                                                         unlanUI    Detla'ner
                                                                                                                                                   Other      Civil   Complaint
            Practice (07)
                                                            commerc'al (31)                                                                                (non-tort/non-complex)
                                                            Residential (32)
        Civil    Rights   (e.g., discrimination,                                                                                            Miscellaneous       Civil Petition
                false arrest) (not civil
                                                            Drugs (38) (if the case involves illegal                                           Partnership and Corporate
                                                            drugs, check this item; otherwise,
             harassment) (08)                                                                                                                      Governance          (21)
                                                            report as Commercial or Residential)
         Defamation (e.g., slander.             libel)                                                                                         Other   Petition (not     speciﬁed
                                                         JudICIaI ReVIeyv
                 (13)                                                                                                                              above) (43)
         Fraud (16)                                         Asslelt Forfe'ture_(05.)                                                                   Harassment
                                                                                                                                                   Civil
                                                            Pem'on Re:       Arb'trat'on            Award       (11)                               Workplace Violence
                    Property (19)
         Intellectual
         Professional Negligence (25)
                                                            wr't   “Manda?            (02).                                                        EIder/Dependent Adult
                                                                Wrﬁ—Admmustratuve Maqdamus
            Legal Malpractice                                                                                                                              Abuse
                                                                               0n L'm'ted court
           Other Professional Malpractice                       wr'gahgznnjgg‘eﬂs                                                                  Election Contest
               (not medical or legal)                               I                 I       I
                                                                                                                                                   Petition for       Name Change
        Other Non-PI/PD/WD Tort (35)
                                                                wr't—Othe’ L'm'ted                  00”” case                                      Petition for Relief        From Late
                                                                        ReView
 Employment                                                                                                                                                Claim
        Wrongful Termination (36)
                                                            Other   JlfdiCial     ReView           (3.9)                                           Other    Civil Petition

        Other Employment (1 5)
                                                                ReVIew       of Health Officer Order
                                                                Notice of Appeal—Labor
                                                                         Commissioner Appeals
CM-010           September                                                                                                                                                                Page 2 of 2
         [Rev.               1,   2021]
                                                                   CIVIL     CASE COVER SHEET
@ryour          protection and privacy, please press the Clear
Case 5:22-cv-02822-EJD Document 1-2 Filed 05/12/22 Page 6 of 79




            EXHIBIT 3
           Case 5:22-cv-02822-EJD Document 1-2 Filed 05/12/22 Page 7 of 79


                                                                                                      ATTACHMENT CV-5012
• CIVIL LAWSUIT NOTICE
                                                                                                22CV395674
  Superior Court of California, County of Santa Clara                     CASE NUMBER:
  191 North First St, San Jose, CA 95113

                                      PLEASE READ THIS ENTIRE FORM
  PLAINTIFF (the person suing): Within 60 days after filing the lawsuit, you must serve each Defendant with the Complaint,
  Summons, an Alternative Dispute Resolution (ADR) Information Sheet, and a copy of this Civil Lawsuit Notico, and you must file
  written proof of such service.

      DEFENDANT (The person sued): You must do each of the following to protect your rights:

     1. You must file a written response to the Complaint, using the proper legal form or format, in the Clerk's Office of the
        Court, within 30 days of the date you were served with the Summons and Complaint
     2. You must serve by mail a copy of your written response on the Plaintiffs attomey or on the Plaintiff if Plaintiff has no
        attorney (to 'serve by mails means to have an adult other than yourself mail a copy); and
     3. You must attend the first Case Management Conference.
           Warning: If you, as the Defendant, do not follow these instructions, you may automatically lose this case.



  RULES AND FORMS: You must follow the California Rules of Court and the Superior Court of California, County of
  <_Countyllame2 Local Civil Rules and use proper forms. You can obtain legal information, view the rules and receive forms, free
  of charge, from the Self-Help Center at 201 North First Street, San Jose (408-882-2900 x-2926).
       •   State Rules and Judicial Council Forms: www.osurtinfo.ca.eovfforms and virww.courtinfo.ca.crov/rules
       •   Local Rules and Forms: http://www.sccsuperiorosurtore/civil/rule1toc.htm
  CASE MANAGEMENT CONFERENCE (CMC): You must meet with the other parties and discuss the case, in person or by
  telephone at least 30 calendar days before the CMC. You must also fill out, file and serve a Case Management Statement
  (Judicial Council form CM-110) at least 15 calendar days before the CMC.
            You or your attorney must appear at the CMC. You may ask to appear by telephone — see Local Civil Rule 8.

                                                                                                             19
                                           FOrwan, Peter
      Your Case Management Judge is:                                                      Department:

      The ist CMC is scheduled for: (Completed by Clerk of Court)                                            19
                                     82022
                               Date:                    Time: 3:45 Pm                    in Department
      The next CMG Is scheduled for: (Completed by party if the 1s, CMC was continued or has passed)
                                   Date:                     Time:                       in Department:


  ALTERNATIVE DISPUTE RESOLUTION (ADR): If all parties have appeared and filed a completed ADR Stipulation Form (local
  form CV-5008) at least 15 days before the CMC, the Court will cancel the CMC and mail notice of an ADR Status Conference.
  Visit the Court's website at www.sccsueeriorcourtora/civil/ADR/ or call the ADR Administrator (408-882-2100 x-2530) for a list of
  ADR providers and their qualifications, services, and fees.

  WARNING: Sanctions may be imposed if you do not follow the California Rules of Court or the Local Rules of Court.

                                                                                                                   Renget
                                                                                                                       —TEZTAI

  CV-5012 REV 08/01/16                                 CIVIL LAWSUIT NOTICE                                                Page 1 of 1
Case 5:22-cv-02822-EJD Document 1-2 Filed 05/12/22 Page 8 of 79




            EXHIBIT 4
Case 5:22-cv-02822-EJD Document 1-2 Filed 05/12/22 Page 9 of 79


                                                                    E-FILED
                                                                    E-FILED
                                                                    3/8/20222:53
                                                                    3/8/2022  2:53PMPM
                                                                          of Court
                                                                    Clerk of Court
 1   BROCK & GONZALES, LLP                                          SuperiorCourt
                                                                    Superior  CourtofofCA,
                                                                                        CA,
          6701 CENTER DRIVE WEST, STE. 610
               LOS ANGELES,
                    ANGELES, CA  CA 90045
                                    90045
                                                                    Countyof
                                                                    County   ofSanta
                                                                                SantaClara
                                                                                       Clara
 2                                                                  22CV395674
                                                                    22CV395674
                        (310) 294-9595
                  Tel: (310)  294-9595
 3                Fax: (310) 961-3673                               ReviewedBy:
                                                                    Reviewed    By:P.P. Newton
                                                                                      Newton
     D. AARON
        AARON BROCK,
                 BROCK,STATE STATEBAR BARNO.
                                          NO.241919
                                              241919
 4
     Attorneys
     Attorneysfor
               forPlaintiff
                   Plaintiff
 5   Matthew
     Matthew Doherty
             Doherty

 6
 7
 8                      SUPERIOR COURT
                                 COURT OF THE
                                          THE STATE OF CALIFORNIA
                                                       CALIFORNIA

 9                                      COUNTY OF SANTA CLARA
10                                                                 22CV395674
                                                                   22CV395674
     MATTHEW
     MATTHEWDOHERTY,
             DOHERTY,ananindividual,
                           individual,                 Case
                                                       Case No.:
                                                            No.:
11
                     Plaintiff,
                     Plaintiff,
12                                                     PLAINTIFF'S COMPLAINT
                                                       PLAINTIFF'S COMPLAINTFOR
                                                                             FOR
             vs.
             VS.                                       DAMAGES FOR:
13
14   ASSURION
     ASSURION UBIFUBIFFRANCHISE,
                         FRANCHISE,LLC, LLC, aa           1. DISABILITY/MEDICAL   CONDITION
                                                             DISABILITY/MEDICAL CONDITION
     Delaware limited liability company; and
     Delaware limited liability company; and
                                                             DISCRIMINATION  INVIOLATION
                                                             DISCRIMINATION IN  VIOLATION
15                                                           OF THE FEHA;
     DOES
     DOES 1-50,
           1-50, inclusive,
                 inclusive,
16
                     Defendants.
                     Defendants.                          2. RETALIATION  INVIOLATION
                                                             RETALIATION IN  VIOLATIONOF
                                                                                       OF
17                                                           THE FEHA;
                                                                 FEHA;
18                                                        3. FAILURE TO PREVENT
                                                             FAILURE TO PREVENT ININ
                                                             VIOLATION  OF111k,
                                                             VIOLATION OF  IHE FEHA;
                                                                                FEHA;
19
                                                          4. VIOLATION OFCALIFORNIA
                                                             VIOLATION OF CALIFORNIA
20                                                           LABOR CODE SECTIONS
                                                                         SECTIONS 1019.1
                                                                                  1019.1and
                                                                                         and
                                                             98.6;
                                                             98.6; and
                                                                   and
21
22
2?                                                        5. WRONGFUL TERMINATION    LN
                                                                        TERMINATION IN
                                                             VIOLATION OFPUBLIC
                                                             VIOLATION OF PUBLICPOLICY.
                                                                                 POLICY.
23
                                                       DEMAND FOR JURY TRIAL
                                                                       TRIAL
24
25
26
27
28

                                          COMPLAINT FOR DAMAGES
                                          COMPLAINT FOR DAMAGES
        Case 5:22-cv-02822-EJD Document 1-2 Filed 05/12/22 Page 10 of 79




         1           Plaintiff, MATTHEW
                     Plaintiff, MATTHEWDOHERTY,
                                        DOHERTY,hereby
                                                  hereby
                                                       brings
                                                          brings
                                                              his his
                                                                  employment
                                                                      employment
                                                                             complaint,
                                                                                 complaint,
                                                                                        demanding
                                                                                            demanding
         2    a trial
                trialby
                      byjury,
                         jury,against
                               againstthethe
                                           above-named
                                             above-named
                                                       Defendants
                                                         Defendants
                                                                  and and
                                                                      states
                                                                           states
                                                                             and alleges
                                                                                  and alleges
                                                                                         as follows:
                                                                                               as follows:
         3                                               11111,
                                                           HE PARTIES
         4          1.      At all
                               all times
                                   timesmentioned
                                         mentionedherein,
                                                   herein,and
                                                            and
                                                              at at
                                                                 thethe
                                                                     time
                                                                        time
                                                                          each
                                                                             each
                                                                               of Plaintiff's
                                                                                  of Plaintiff's
                                                                                              causes
                                                                                                  causes
                                                                                                     of action
                                                                                                          of action
         5    arose, Plaintiff,
              arose, Plaintiff,MATTHEW
                                MATTHEWDOHERTY,
                                              ; was an
                                        DOHERTY     an individual
                                                       individualand
                                                                  anda aresident
                                                                          resident
                                                                                 of of
                                                                                    thethe
                                                                                        State
                                                                                           State
                                                                                              of of
         6    California.
              California.
         7          2.      Plaintiff isisinformed
                            Plaintiff      informedand
                                                    andbelieves,
                                                        believes,and
                                                                   and
                                                                     based
                                                                       based
                                                                           thereon
                                                                              thereon
                                                                                   alleges,
                                                                                       alleges,
                                                                                            thatthat
                                                                                                 Defendant
                                                                                                     Defendant
         8    ASSURION
              ASSURION UBIF
                       UBIFFRANCHISE,
                            FRANCHISE,LLC
                                       LLCwas,
                                           was,and
                                                 and
                                                   is, is,
                                                        a Delaware
                                                           a Delaware
                                                                   limited
                                                                      limited
                                                                           liability
                                                                               liability
                                                                                     company
                                                                                         company
                                                                                             doingdoing
         9    business
              business in
                        in the
                            theCounty
                               CountyofofSanta
                                          SantaClara,
                                                Clara,State
                                                         State
                                                            of California,
                                                               of California,
                                                                           at 341
                                                                               at 341
                                                                                  Cobalt
                                                                                      Cobalt
                                                                                         Way,Way,
                                                                                             Sunnyvale,
                                                                                                  Sunnyvale,
        10    California 94085.
              California  94085.At
                                 Atthe
                                    thetime
                                         timethe
                                               the
                                                 causes
                                                   causes
                                                        of of
                                                           action
                                                              action
                                                                  arose,
                                                                     arose,
                                                                         Defendants
                                                                            Defendants
                                                                                    ASSURION
                                                                                       ASSUR1ON
                                                                                             UBIFUBE
        11    FRANCHISE, LLC
              FRANCHISE,  LLCand/or
                              and/orDOES
                                     DOES1-50
                                           1-50
                                              were
                                                were
                                                   Plaintiffs
                                                     Plaintiffs
                                                              employer(s).
                                                                employer(s).
oz5n)   12          3.      Plaintiff isisunaware
                            Plaintiff     unawareofofthe
                                                       thetrue
                                                            true
                                                               names
                                                                 names
                                                                     andand
                                                                         capacities
                                                                            capacities
                                                                                    of Defendants
                                                                                        of Defendants
                                                                                                  suedsued
                                                                                                       herein
                                                                                                            herein
                                                                                                              as as

ON      13    DOES 11 through
              DOES    through50,          ; and
                              50,inclusive;
                                  inclusive and for
                                                 forthat
                                                     thatreason
                                                          reasonsues
                                                                  sues
                                                                     said
                                                                       said
                                                                          Defendants
                                                                            Defendants
                                                                                     by by
                                                                                        such
                                                                                           such
                                                                                             fictitious
                                                                                                 fictitious
                                                                                                        names.
                                                                                                            names.
QT      1,1   Each of
              Each of the
                       theDefendants
                          Defendantsdesignated
                                     designatedherein
                                                 herein
                                                      as as
                                                         a DOE
                                                            a DOE
                                                                is negligently,
                                                                    is negligently,
                                                                                intentionally,
                                                                                    intentionally,
                                                                                               or otherwise
                                                                                                    or otherwise
 0      15    legally responsible
                      responsibleininsome
                                      somemanner
                                           mannerforfor
                                                      thethc
                                                          events
                                                             events
                                                                 andand
                                                                     happenings
                                                                        happenings
                                                                                herein
                                                                                    herein
                                                                                       referred
                                                                                            referred
                                                                                                to andtocaused
                                                                                                         and caused
Ca 0

(.9     16    injuries and
              injuries  anddamages
                            damagesproximately thereby
                                     proximately       to thc
                                                  thereby the Plaintiff,
                                                              Plaintiff,asasherein
                                                                             hereinalleged.
                                                                                     alleged.Plaintiff
                                                                                               Plaintiff
                                                                                                       will
                                                                                                         will
                                                                                                            filefile
                                                                                                                  andand
        17    serve one
                    one or
                        ormore
                           moreamendments
                                amendmentsto to
                                              this
                                                this
                                                   complaint
                                                     complaint
                                                             upon
                                                                upon
                                                                  learning
                                                                      learning
                                                                           the true
                                                                                the names
                                                                                    true names
                                                                                          and capacities
                                                                                               and capacities
                                                                                                         of   of
        18    said Defendants.
              said Defendants.
        19          4.      Plaintiff isisinformed
                            Plaintiff      informedand
                                                    andbelieves
                                                        believesthat
                                                                  that
                                                                     each
                                                                       each
                                                                          of of
                                                                             thethe
                                                                                 fictitiously
                                                                                    fictitiously
                                                                                              named
                                                                                                 named
                                                                                                    Defendants
                                                                                                       Defendants
                                                                                                               is is
        20    responsible
              responsible ininsome
                               somemanner
                                   mannerfor,
                                           for,
                                              and
                                                and
                                                  proximately
                                                    proximately
                                                              caused,
                                                                 caused,
                                                                      the injuries
                                                                          the injuries
                                                                                   and damages
                                                                                       and damages
                                                                                               to Plaintiff
                                                                                                     to Plaintiff
        21    hereinafter alleged.
              hereinafter  alleged.
        22
        2")          5.     Plaintiff
                            Plaintiff isis informed
                                            informedand
                                                     andbelieves,
                                                         believes,and
                                                                    and
                                                                      based
                                                                        based
                                                                            thereon
                                                                               thereon
                                                                                    alleges,
                                                                                        alleges,
                                                                                             thatthat
                                                                                                  eacheach
                                                                                                       of the
                                                                                                            of the
        23    Defendants named
              Defendants  namedherein
                                hereinacted
                                        acted
                                            as as
                                               thethe
                                                   employee,
                                                      employee,
                                                             agent,
                                                                agent,
                                                                    servant,
                                                                       servant,
                                                                             partner,
                                                                                 partner,
                                                                                      alter-ego
                                                                                            alter-ego
                                                                                                and/orand/or
                                                                                                       joint joint
        24    venturer ofofone
              venturer      oneorormore
                                    moreofofthethe
                                                 other
                                                   other
                                                       Defendants
                                                         Defendants
                                                                  named
                                                                     named
                                                                        herein.
                                                                            herein.
                                                                                In doing
                                                                                    In doing
                                                                                         the acts
                                                                                              theand/or
                                                                                                  acts and/or
        25    omissions alleged
                        alleged herein,
                                herein,each
                                        eachofofsaid
                                                 saidDefendants
                                                      Defendantsacted
                                                                  acted
                                                                      within
                                                                        within
                                                                             the the
                                                                                  course
                                                                                     course
                                                                                         and and
                                                                                             scope
                                                                                                 scope
                                                                                                   of hisoforhisheror her
        26    relationship
              relationship with
                            withany
                                 anyother
                                     otherDefendant;
                                           Defendant;andand
                                                         gave
                                                            gave
                                                              andand
                                                                  received
                                                                      received
                                                                           full consent,
                                                                                full consent,
                                                                                         permission
                                                                                              permission
                                                                                                    and and
        27    ratification totothe
              ratification      theacts
                                    actsand/or
                                         and/oromissions
                                                 omissions
                                                         alleged
                                                            alleged
                                                                 herein.
                                                                    herein.
        28          6.      hereinafter
                            hereinafter ininthis
                                             thisComplaint,
                                                  Complaint,unless
                                                              unless
                                                                   otherwise
                                                                      otherwise   ; reference
                                                                             noted; referencetotoaaDefendant
                                                                                noted               Defendantshall
                                                                                                               shall
                                                            2
                                                  COMPLAINT FOR DAMAGES
       Case 5:22-cv-02822-EJD Document 1-2 Filed 05/12/22 Page 11 of 79




        1   mean all
            mean allDefendants,
                     Defendants,and
                                 andeach
                                      each
                                         ofof
                                            them.
                                              them.
        2                                  THE FACTUAL
                                           THE FACTUALALLEGATIONS
                                                       ALLEGATIONS
        3         7.    Plaintiff workedfor
                        Plaintiff worked forDefendant
                                             Defendant  from
                                                      from onon
                                                             or or about
                                                                about    October
                                                                      October     4, 2021
                                                                              4, 2021 untiluntil Defendant
                                                                                            Defendant
        4   wrongfully terminated
            wrongfully  terminatedPlaintiff's
                                    Plaintiffsemployment
                                               employmenton on
                                                            or about October
                                                               or about      11, 2021.
                                                                        October   11, 2021.
        5         8.    On Plaintiff's
                        On Plaintiffs second
                                       secondday
                                              dayofofwork,
                                                      work,ononoror
                                                                  about October
                                                                    about       5, 2021,
                                                                          October        Plaintiff
                                                                                    5, 2021,       informed
                                                                                             Plaintiff infonned
        6   his supervisor
                supervisorthat
                           thathehemay
                                    mayneed to to
                                         need  leave work
                                                  leave   early
                                                        work    for for
                                                             early  doctor's appointment.
                                                                        doctor's appointment.
        7         9.    Two days
                            days later,
                                  later,on
                                         onororabout
                                                aboutOctober
                                                      October7, 2021, Plaintiff's
                                                                7, 2021,          supervisor
                                                                         Plaintiffs          asked
                                                                                     supervisor    Plaintiff
                                                                                                 asked Plaintiff
        8   about his
            about hisdoctor'S
                      doctor'sappointment.
                               appointment.In In
                                              response, Plaintiff
                                                 response,        informed
                                                           Plaintiff       his supervisor
                                                                      informed            that Plaintiff
                                                                                his supervisor           was was
                                                                                                that Plaintiff
        9   receiving treatment
            receiving  treatmentfor
                                  forthethe
                                          disability/medical condition
                                            disability/medical         of cancer.
                                                                condition  of cancer.
       10             The next
                  10. The nextday,
                               day,on
                                    onororabout
                                           aboutOctober
                                                 October8, 2021, Plaintiff's
                                                           8, 2021,          areaarea
                                                                    Plaintiff's   manager calledcalled
                                                                                      manager     and asked
                                                                                                       and asked
       11   if Plaintiff
               Plaintiffhad
                         hadcancer,
                             cancer,informing Plaintiff
                                      informing         thatthat
                                                Plaintiff    he heard fromfrom
                                                                 heheard    Defendant's Human
                                                                                Defendant's   Resources
                                                                                            Human  Resources
       12   Department. that
            Department   thatPlaintiff
                              Plaintiffhad cancer.
                                         had cancer.

UN     13             Three days
                  11. Three dayslater,
                                 later,ononoror
                                              about October
                                                about       11, 11,
                                                      October   2021, Defendant
                                                                    2021,       terminated
                                                                          Defendant        Plaintiff's
                                                                                    terminated  Plaintiffs
 <
0z
 11
 11    14   employment, purportedly
            employment,  purportedlyforfor
                                         notnot
                                             completing an USCIS
                                                completing       Form
                                                           an USCIS   1-9. 1-9.
                                                                    Form
a0
 0
CO 0
m0     15             Plaintiff isisinformed
                  12. Plaintiff      informedand
                                              andbelieves,
                                                  believes,and based
                                                             and     thereon
                                                                 based       alleges,
                                                                        thereon       thatthat
                                                                                 alleges,  Defendant's
                                                                                               Defendant's
       16   reason for
            reason  fortermination
                        terminationis isfalse
                                          falseand/or pretext.
                                                 and/or        Defendant
                                                        pretext.         knew
                                                                 Defendant    Plaintiff,
                                                                            knew.        who was
                                                                                   Plaintiff, whoborn
                                                                                                  was in the in the
                                                                                                      born
       17   United States,
            United States,was
                           wasauthorized
                               authorizedtoto
                                            work in in
                                              work  thethe
                                                        United States,
                                                           United      had had
                                                                  'States, provided the necessary
                                                                               provided  the necessary
       18   documents totoverify
            documents      verifyhis
                                  hisidentity,
                                      identity,anethad been
                                                 and had    trying
                                                         been      to complete
                                                               trying          a 1-9a form,
                                                                       to complete          eveneven
                                                                                      1-9 form,  though it wasit was
                                                                                                     though
       19   Defendant's responsibility
            Defendant's  responsibilitytoto
                                          dodo
                                             so.so.
                                                 Plaintiff is informed
                                                    Plaintiff          andand
                                                              is informed  believes, and and
                                                                               believes, based thereon
                                                                                             based     alleges,
                                                                                                    thereon  alleges,
       20   that Defendant
            that Defendantterminated Plaintiffs
                            terminated          employment
                                       Plaintiffs          on account
                                                  employment          of Plaintiff's
                                                              on account             disability/medical
                                                                          of Plaintiff's  disability/medical
       21   condition and/or
            condition  and/orininretaliation forfor
                                   retaliation   disclosing hishis
                                                    disclosing disability/medical condition
                                                                   disability/medical       and/or
                                                                                      condition    Plaintiffs
                                                                                                and/or  Plaintiffs
       22   anticipated future
            anticipated  futureneed
                                need.for
                                     for reasonable
                                         reasonableaccommodation.
                                                    accommodation.
       23                       EXHAUSTION
                                EXHAUSTIONOF
                                           OFADMLNISTRATIVE
                                              ADMINISTRATIVEREMEDIES
                                                             REMEDIES
       24             On March
                  13. On March6,6,2022,
                                   2022,Plaintiff
                                         Plaintifffiled
                                                    fileda acomplaint against
                                                              complaint       Defendant
                                                                        against         withwith
                                                                                Defendant    the the
       25   Department ofofFair
            Department      FaitEmployment
                                 Employmentand Housing.
                                             and        Plaintiff
                                                 Housing.         received
                                                           Plaintiff       a "Right-to-Sue"
                                                                      received              letter letter
                                                                               a "Right-to-Sue"    from from
       26   said department
                 departmentthat same
                             that    day.
                                  same    This
                                       day.    Complaint
                                            This         is timely
                                                 Complaint          filedfiled
                                                              is timely   pursuant to thattoletter.
                                                                               pursuant      that letter.
       27   ///
       28   ///
                                                          3
                                               COMPLAINT FOR DAMAGES
                                               COMPLAINT,FOR DAMAGES
        Case 5:22-cv-02822-EJD Document 1-2 Filed 05/12/22 Page 12 of 79




         1                                       FIRST
                                                 FIRST CAUSE
                                                       CAUSEOF
                                                             OFACTION
                                                                ACTION
              DISABILITY/MEDICALCONDITION
              DISABILITYPNIEDICAL CONDITIONDISCRIMINATION
                                            DISCRIMINATION   IN VIOLATION
                                                          IN VIOLATION OF IOF
                                                                           HEI
                                                                           HE
         3                                                    FEHA
                                                              FEHA
         4                                        (Against ALL
                                                  (Against ALLDefendants)
                                                               Defendants)
         5              Plaintiff restates
                    14. Plaintiff  restatesand
                                            andincorporates by by
                                                 incorporates  thisthis
                                                                    reference as ifas
                                                                        reference   fully set forth
                                                                                      if fully      herein
                                                                                               set forth herein
         6   paragraphs 1 1through
             paragraphs            1313
                             through  of of
                                         this Complaint.
                                            this Complaint.
         7          15. At all
                           all times
                               timesherein
                                     hereinmentioned,
                                            mentioned,thethe
                                                           FEHA was
                                                             FEHA   in full
                                                                  was       force
                                                                       in full    andand
                                                                               force  effect and and
                                                                                          effect was was
         8   binding on
             binding onDefendants,
                        Defendants,asasDefendants
                                        Defendantsregularly employed
                                                    regularly        fivefive
                                                              employed    or more persons.
                                                                              or more persons.
         9          16. The FEFIA
                            FEI-IA.requires Defendants
                                     requires          to refrain
                                              Defendants          fromfrom
                                                          to refrain    discriminating against
                                                                            discriminating     any employee
                                                                                            against any employee
        10   on the
                the basis
                    basisof
                          ofperceived
                             perceivedand/or
                                       and/oractual disability/medical
                                               actual                  condition.
                                                       disability/medical condition.
        11              Defendants engaged
                    17. Defendants  engagedininunlawful
                                                unlawfulemployment
                                                         employmentpractices in violation
                                                                     practices            of the
                                                                                 in violation of FEHA.
                                                                                                 the FEHA.
   n)   12          18. As a proximate
                             proximateresult
                                       resultofofthe
                                                   theaforesaid acts
                                                        aforesaid    of Defendants,
                                                                  acts              Plaintiff
                                                                        of Defendants,        has suffered
                                                                                       Plaintiff  has suffered

   <    13   actual, consequential
             actual, consequentialand
                                   andincidental financial
                                        incidental         losses,
                                                    financial      including
                                                              losses,        without
                                                                      including      limitation,
                                                                                without          loss of
                                                                                         limitation,     salary
                                                                                                      loss of salary
01-2    14   and benefits,
             and benefits,and
                           andthe
                               theintangible loss
                                    intangible    of of
                                               loss  employment related
                                                        employment      opportunities
                                                                   related            in hisinfield
                                                                           opportunities            and damage
                                                                                                his field and damage
CC 0
ca      15   to his
                his professional
                    professionalreputation,
                                 reputation,allall
                                                in in
                                                   anan
                                                      amount subject
                                                        amount       to proof
                                                                subject       at theattime
                                                                         to proof           of trial.
                                                                                        the time  of Plaintiff
                                                                                                      trial. Plaintiff

(—F")   16   claims such
                    such amounts
                         amountsasasdamages
                                     damagespursuant to California
                                              pursuant  to California
                                                                   CivilCivil § 3287
                                                                         CodeCode    and/or
                                                                                  § 3287    § 3288
                                                                                         and/or    and/orand/or
                                                                                                 § 3288
        17   any other
             any otherprovision
                       provisionofoflaw
                                      lawproviding
                                          providingforfor
                                                       prejudgment interest.
                                                          prejudgment  interest.
        18          19. As a proximate
                             proximateresult
                                       resultofofthe
                                                   thewrongful
                                                       wrongfulacts of of
                                                                 acts  Defendants, Plaintiff
                                                                          Defendants,        has has
                                                                                      Plaintiff  suffered and and
                                                                                                     suffered
        19   continues to
             continues  tosuffer
                           sufferemotional
                                  emotionaldistress,.
                                             distress,humiliation,
                                                       humiliation,mental anguish
                                                                     mental       and and
                                                                             anguish  embarrassment, as wellas well
                                                                                          embarrassment,
        20   as the
                the manifestation
                    manifestationofofphysical
                                      physicalsymptoms. Plaintiff
                                                symptoms.         is informed
                                                          Plaintiff            andand
                                                                      is informed believes, and and
                                                                                      believes, thereupon
                                                                                                     thereupon
        21   alleges, that
                      thathe
                           hewill
                              willcontinue
                                   continuetotoexperience•
                                                 experiencesaid physical
                                                             said        andand
                                                                  physical   emotional suffering
                                                                                emotional        for afor
                                                                                           suffering   period in in
                                                                                                          a period
        2?
        22   the future
             the futurenot
                        notpresently
                            presentlyascertainable, all all
                                       ascertainable,   in an
                                                            in amount subject
                                                               an amount      to proof
                                                                          subject      at theat
                                                                                   to proof   time
                                                                                                theoftime
                                                                                                       trial.of trial.
        23          20. As a proximate
                             proximateresult
                                       resultofofthe
                                                   thewrongful
                                                       wrongfulacts of of
                                                                 acts  Defendants;
                                                                                 ; Plaintiff
                                                                                   Plaintiffhas
                                                                          Defendants         hasbeen
                                                                                                 beenforced
                                                                                                      forced
        24   to hire
                hireattorneys
                     attorneystotoprosecute
                                   prosecutehishis
                                                claims herein,
                                                   claims      andand
                                                          herein,  has has
                                                                       incurred and isand
                                                                           incurred    expected to continue
                                                                                          is expected       to
                                                                                                      to continue to
        25   incur attorneys'
             incur attorneys'fees
                               feesand
                                    andcosts in in
                                         costs   connection therewith.
                                                   connection          Plaintiff
                                                               therewith.        is entitled
                                                                           Plaintiff         to recover
                                                                                      is entitled       attorneys'
                                                                                                  to recover  attorneys'
        26   fees and
                  and costs
                      costsunder
                            underCalifornia
                                  California Government
                                            Government      §12965(b).
                                                         Code
                                                       Code    §12965(b).
        27              The actions
                    21. The actionstaken
                                    takenagainst
                                          againstPlaintiff were
                                                   Plaintiff    carried
                                                             were       out out
                                                                   carried  and and
                                                                                ratified by officers
                                                                                     ratified        and and
                                                                                              by officers
        28   managers ofofDefendant.
             managers     Defendant.InInaddition, Defendant
                                          addition,         hadhad
                                                    Defendant   in place policies
                                                                    in place      and and
                                                                             policies procedures that that
                                                                                          procedures
                                                            4
                                                  COMPLAINT FOR DAMAGES
       Case 5:22-cv-02822-EJD Document 1-2 Filed 05/12/22 Page 13 of 79




         1    specifically prohibited
              specifically prohibiteddiscrimination
                                      discriminationbased
                                                      based
                                                          on on
                                                             a disability/medical
                                                                a disability/medical
                                                                                  condition
                                                                                     condition
                                                                                            and required
                                                                                                 and required
         2    Defendant's managers,
              Defendant's managers,officers,
                                     officers,
                                             and
                                               and
                                                 agents
                                                   agents
                                                        to prevent
                                                           to prevent
                                                                   disability/medical
                                                                       disability/medical
                                                                                      condition
                                                                                          condition
         3    discrimination. However,
              discrimination.  However,Defendants
                                        Defendantschose
                                                    chose
                                                        to to
                                                           consciously
                                                              consciously
                                                                       andand
                                                                           willfully
                                                                              willfully
                                                                                     ignore
                                                                                        ignore
                                                                                            saidsaid
                                                                                                 policies
                                                                                                     policies
                                                                                                          and and
         4    procedures and
              procedures  andtherefore,
                               therefore,
                                        their
                                          their
                                              outrageous
                                                outrageous
                                                         conduct
                                                            conduct
                                                                 was was
                                                                     fraudulent,
                                                                         fraudulent,
                                                                                 malicious,
                                                                                      malicious,
                                                                                            oppressive,
                                                                                                 oppressive,
                                                                                                        and and
         5    was done
                  done in
                        inwanton
                          wantondisregard
                                 disregardforfor
                                              thethe
                                                  rights
                                                     rights
                                                         of Plaintiff
                                                            of Plaintiff
                                                                      and and
                                                                          the rights
                                                                               the rights
                                                                                     and duties
                                                                                          and duties
                                                                                                owed owed
                                                                                                     by each
                                                                                                           by each
         6    Defendant totoPlaintiff.
              Defendant      PlaintiffEach
                                       EachDefendant
                                            Defendantaided, abetted,
                                                       aided,        participated
                                                              abetted,            in, authorized,
                                                                        participated              ratified,
                                                                                       in, authorized,      and/or and/or
                                                                                                         ratified,
         7    conspired totoengage
              conspired      engageininthe
                                        thewrongful
                                            wrongfulconduct alleged
                                                      conduct       above.
                                                               alleged     Plaintiff
                                                                       above.        should,
                                                                              Plaintiff      therefore,
                                                                                        should,         be be
                                                                                                 therefore,
         8    awarded exemplary
              awarded  exemplaryand
                                 andpunitive damages
                                      punitive       against
                                               damages       eacheach
                                                        against   Defendant in aninamount
                                                                      Defendant           to be established
                                                                                    an amount   to be established
         9    that isisappropriate
              that      appropriatetoto
                                      punish each
                                        punish    Defendant
                                               each         andand
                                                    Defendant  deterdeter
                                                                     others from from
                                                                          others engaging in suchinconduct
                                                                                      engaging             in
                                                                                                    such conduct in
       10     the future.
              the future.
       11                                      SECOND CAUSE OF ACTION
  n) 12
  n                                  RETALIATION IN VIOLATION OF IHE FEHA

U NJ 13                                           (Against ALL Defendants)
  = 1414                 Plaintiff restates
                     22. Plaintiff  restatesand
                                             andincorporates by by
                                                  incorporates  thisthis
                                                                     reference as ifasfully
                                                                         reference          set forth
                                                                                        if fully      herein
                                                                                                 set forth herein
Cr 00
Cr
000
DO 01515      paragraphs 1 1through
              paragraphs            2121
                              through  of of
                                          this Complaint.
                                             this Complaint.
       16            23. At all
                            all times
                                timesherein
                                      hereinmentioned,
                                             mentioned,thethe
                                                            FEHA was
                                                              FEHA   in full
                                                                   was       force
                                                                        in full    andand
                                                                                force  effect and and
                                                                                           effect werewere
CC.)   17     binding on
              binding onDefendants,
                         Defendants,asasDefendant
                                         Defendantregularly employed
                                                    regularly        fivefive
                                                              employed    or more persons.
                                                                              or more      The FEHA
                                                                                      persons. The FEHA
       18     makes ititunlawful
              makes     unlawfulfor
                                 forany
                                     anyperson
                                         personto to
                                                  retaliate
                                                     retaliate
                                                            against
                                                               against
                                                                    an employee
                                                                        an employee
                                                                                whowho
                                                                                    has disclosed
                                                                                        has disclosed
                                                                                                  a disability
                                                                                                       a disability
       19     and/or requested
              and/or  requestedreasonable accommodation.
                                 reasonable accommodation.
       20                Defendants' conduct
                     24. Defendants'  conductasasalleged above
                                                   alleged     constituted
                                                           above           unlawful
                                                                 constituted        retaliation
                                                                              unlawful          in violation
                                                                                        retaliation          of of
                                                                                                     in violation
       21     the FEHA.
              the FEHA.
       22            25. As a proximate
                              proximateresult
                                        resultofofthe
                                                    theaforesaid acts
                                                         aforesaid    of Defendants,
                                                                   acts              Plaintiff
                                                                         of Defendants,        has suffered
                                                                                        Plaintiff  has suffered
       23     actual, consequential
              actual, consequentialand
                                    andincidental financial
                                         incidental         losses,
                                                     financial      including
                                                               losses,        without
                                                                       including      limitation,
                                                                                 without          loss of
                                                                                          limitation,     salary
                                                                                                       loss of salary
       24     and benefits,
              and benefits,and
                            andthe
                                theintangible loss
                                     intangible    of of
                                                loss  employment related
                                                         employment      opportunities
                                                                    related            in hisinfield
                                                                            opportunities            and damage
                                                                                                 his field and damage
       25     to his professional
                     professionalreputation,
                                  reputation,allall
                                                 in in
                                                     anan
                                                       amount subject
                                                          amount      to proof
                                                                 subject       at theattime
                                                                          to proof           of trial.
                                                                                         the time  of Plaintiff
                                                                                                       trial. Plaintiff
       26     claims such
              claims suchamounts
                          amountsasasdamages
                                      damagespursuant to California
                                               pursuant             Government
                                                         to California         CodeCode
                                                                       Government  § 3287 and/orand/or
                                                                                        § 3287   § 3288§ 3288
       27     and/or any
              and/or  anyother
                          otherprovision
                                provisionofof
                                            law providing
                                              law         forfor
                                                  providing   prejudgment interest.
                                                                 prejudgment   interest.
       ,,28
         28          26. As a proximate
                              proximateresult
                                        resultofofthe
                                                    thewrongful
                                                        wrongfulacts of of
                                                                  acts  Defendants, Plaintiff
                                                                           Defendants,        has suffered
                                                                                       Plaintiff           and and
                                                                                                  has suffered
                                                            5
                                                  COMPLAINT FOR DAMAGES
       Case 5:22-cv-02822-EJD Document 1-2 Filed 05/12/22 Page 14 of 79




         1   continues to
             continues  tosuffer
                           sufferemotional
                                  emotionaldistress, humiliation,
                                             distress,            mental
                                                       humiliation,      anguish
                                                                    mental       and and
                                                                            anguish  embarrassment, as wellas well
                                                                                         embarrassment,
         2   as the
                the manifestation
                    manifestationofofphysical
                                      physicalsymptoms. Plaintiff
                                                symptoms.         is informed
                                                          Plaintiff            andand
                                                                      is informed  believes and and
                                                                                       believes thereupon
                                                                                                     thereupon
         3   alleges that
                     thathe
                          hewill
                            willcontinue
                                 continuetotoexperience
                                              experiencesaid physical
                                                          said        andand
                                                               physical   emotional suffering
                                                                             emotional        for afor
                                                                                        suffering   period in in
                                                                                                       a period
         4   the future
             the futurenot
                        notpresently
                            presentlyascertainable, all all
                                       ascertainable,   in an
                                                            in amount subject
                                                               an amount      to proof
                                                                          subject      at theat
                                                                                   to proof   time
                                                                                                theoftime
                                                                                                       trial.of trial.
         5          27. As a proximate
                             proximateresult
                                       resultofofthe
                                                   thewrongful
                                                       wrongfulacts of of
                                                                 acts  Defendants, Plaintiff
                                                                          Defendants,        has has
                                                                                      Plaintiff  beenbeen
                                                                                                      forced
                                                                                                          forced
         6   to hire
                hire attorneys
                     attorneystotoprosecute
                                   prosecutehishis
                                                claims  herein,
                                                   claims       andand
                                                          herein,   has has
                                                                        incurred and isand
                                                                            incurred    expected to continue
                                                                                           is expected       to
                                                                                                       to continue to
         7   incur attorneys'
             incur  attorneys'fees
                                feesand
                                     andcosts in in
                                          costs   connection therewith.
                                                    connection          Plaintiff
                                                                therewith.        is entitled
                                                                            Plaintiff         to recover
                                                                                       is entitled       attorneys'
                                                                                                   to recover  attorneys'
         8   fees and
                  and costs
                      costsunder
                            underCalifornia
                                  CaliforniaGovernment
                                             GovernmentCode § 12965(b).
                                                         Code  § 12965(b).
         9          28. The
                        The actions
                            actionstaken
                                    takenagainst
                                          againstPlaintiff were
                                                   Plaintiff    carried
                                                             were       out out
                                                                   carried  and and
                                                                                ratified by officers
                                                                                     ratified        and and
                                                                                              by officers
       10    managers ofofDefendants.
             managers     Defendants.InInaddition, Defendant
                                           addition,         hadhad
                                                     Defendant   in place policies
                                                                     in place      and and
                                                                              policies procedures that that
                                                                                           procedures
       11    specifically prohibited
             specifically prohibitedretaliation
                                     retaliationand required
                                                  and        Defendant's
                                                       required          managers,
                                                                Defendant's        officers,
                                                                            managers,        and agents
                                                                                         officers,      to
                                                                                                   and agents to
  r..0
r6r  u
     .) 12   prevent retaliation.
             prevent  retaliation.However,
                                   However,Defendants
                                            Defendantschose to consciously
                                                        chose              andand
                                                               to consciously  willfully ignore
                                                                                   willfully    said said
                                                                                             ignore  policies
                                                                                                          policies
       13    and procedures
             and proceduresand
                            andtherefore, their
                                 therefore,     outrageous
                                             their         conduct
                                                   outrageous      was fraudulent,
                                                              conduct              malicious,
                                                                       was fraudulent,        oppressive,
                                                                                        malicious,  oppressive,
  NJ
       14    and was
             and wasdone
                     doneininwanton
                              wantondisregard
                                     disregardforfor
                                                  thethe
                                                      rights of Plaintiff
                                                         rights           and and
                                                                 of Plaintiff the rights and duties
                                                                                   the rights       owed by
                                                                                              and duties owed by
cr00
cr
ca
cOO0 15
     15      each Defendant
             each DefendanttotoPlaintiff.
                                PlaintiffEach
                                          EachDefendant
                                               Defendantaided, abetted,
                                                           aided,       participated
                                                                  abetted,           in, authorized,
                                                                            participated             ratified,
                                                                                           in, authorized,  ratified,
       16    and/or conspired
             and/or  conspiredtotoengage in in
                                   engage.  thethe
                                                wrongful conduct
                                                   wrongful      alleged
                                                            conduct      above.
                                                                     alleged    Plaintiff
                                                                             above.       should,
                                                                                    Plaintiff     therefore,
                                                                                              should,        be be
                                                                                                       therefore,
ffj    17    awarded exemplary
             awarded  exemplaryand
                                andpunitive damages
                                     punitive       against
                                              damages       eacheach
                                                       against   Defendant in aninamount
                                                                     Defendant           to be established
                                                                                   an amount   to be established
       18    that isisappropriate
             that      appropriatetoto
                                     punish each
                                       punish    Defendant
                                              each         andand
                                                   Defendant  deterdeter
                                                                    others from from
                                                                         others engaging in suchinconduct
                                                                                     engaging             in
                                                                                                   such conduct in
       19    the future.
             the future.
       20                                       THIRD CAUSE OF ACTION
       21                     FAILURE TO PREVENT IN VIOLATION OF 1111, FEHA
       22                                         (Against ALL Defendants)
       23          29. Plaintiff
                   29. Plaintiff restates
                                  restatesand
                                           andincorporates by by
                                                incorporates  thisthis
                                                                   reference as ifas
                                                                       reference   fully set forth
                                                                                     if fully      herein
                                                                                              set forth herein
       24    paragraphs 1 1through
             paragraphs            2828
                             through  of of
                                         this Complaint.
                                            this Complaint.
       25          30
                   30.- At all
                           all times
                               timesmentioned
                                     mentionedherein,
                                               herein,California
                                                       CaliforniaGovernment Code
                                                                   Government    Sections
                                                                               Code       12940,
                                                                                    Sections     et seq.,
                                                                                             12940,   et seq.,
       26    including but
             including butnot
                           notlimited
                                limitedtotoSections
                                            Sections12940 (j)(j)
                                                      12940   and  (k),(k),
                                                                 and    were  in full
                                                                            were      force
                                                                                  in full   andand
                                                                                          force effect and and
                                                                                                    effect werewere
       27    binding upon
             binding uponDefendants
                          Defendantsand
                                     andeach of of
                                          each  them. These
                                                   them.    sections
                                                         These       impose
                                                               sections     on an
                                                                        impose onemployer a duty
                                                                                  an employer    to to
                                                                                               a duty
       28    take immediate
             take  immediateand
                             andappropriate
                                 appropriatecorrective action
                                               corrective     to end
                                                           action    discrimination
                                                                  to end            and retaliation
                                                                          discrimination            and take
                                                                                         and retaliation   and take
                                                                 6
                                                 COMPLAINT FOR DAMAGES
Case 5:22-cv-02822-EJD Document 1-2 Filed 05/12/22 Page 15 of 79




  1   all reasonable
          reasonablesteps
                     stepsnecessary
                           necessarytoto
                                       prevent discrimination
                                         prevent              and and
                                                  discrimination  retaliation from from
                                                                       retaliation occurring.
                                                                                        occurring.
             31. Defendants
                 Defendantsfailed
                            failedtototake
                                       takeimmediate
                                            immediateandand
                                                         appropriate corrective
                                                            appropriate         actionaction
                                                                         corrective     to endtothe
                                                                                                 end the
  3   discrimination
      discriminationand
                     andretaliation.
                          retaliation.
  4          32. In
                 In failing
                    failingand/or
                            and/orrefusing
                                   refusingtoto
                                              take immediate
                                                take         andand
                                                     immediate   appropriate corrective
                                                                    appropriate         actionaction
                                                                                  corrective   to endto end
  5   the harassment,
      the harassment,discrimination
                      discriminationandand retaliation,
                                        retaliation, and and  in failing
                                                         in failing      and/or
                                                                    and/or       refusing
                                                                           refusing to taketoand
                                                                                              take
                                                                                                 or and
                                                                                                    all or all
  6   reasonable
      reasonablesteps
                 stepsnecessary
                       necessarytotoprevent discrimination
                                      prevent              and and
                                               discrimination  retaliation from from
                                                                    retaliation occurring, Defendants
                                                                                     occurring, Defendants
  7   violated California
      violated CaliforniaGovernment
                          GovernmentCode
                                     Code§ 12940 (j) (j)
                                            § 12940   andand
                                                          (k),(k),
                                                               causing Plaintiff
                                                                   causing       to suffer
                                                                           Plaintiff       damages
                                                                                      to suffer    as as
                                                                                                damages
  8   set forth
          forthabove.
                above.
  9          33. As a proximate
                      proximateresult
                                resultofofthe
                                            theaforesaid actsacts
                                                 aforesaid     of Defendants, andand
                                                                  of Defendants, eacheach
                                                                                      of them.  Plaintiff
                                                                                           of them.  Plaintiff
 10   has
      has suffered
          sufferedactual,
                   actual,consequential
                           consequentialandand
                                            incidental financial
                                               incidental        losses,
                                                           financial     including
                                                                     losses,       without
                                                                             including     limitation,
                                                                                       without  limitation,
 11   loss of salary
              salaryand
                     andbenefits,
                         benefits,and
                                   andthethe
                                           intangible lossloss
                                             intangible     of employment related
                                                               of employment      opportunities
                                                                              related           in hisin his
                                                                                      opportunities
 12   field and
            anddamage
                damagetotohis
                           hisprofessional
                               professionalreputation, all in
                                             reputation,   allan
                                                               inamount subject
                                                                  an amount     to proof
                                                                            subject      at the at
                                                                                     to proof   time
                                                                                                   theoftime of
 13   trial.
      trial.Plaintiff
             Plaintiffclaims
                       claimssuch
                              suchamounts
                                   amountsas as
                                             damages pursuant
                                                damages       to Civil
                                                        pursuant       CodeCode
                                                                  to Civil  § 3287 and/or
                                                                                § 3287    § 3288§ 3288
                                                                                       and/or
14    and/or
      and/orany
             anyother
                 otherprovision
                       provisionof of
                                   law  providing
                                      law         for for
                                          providing    prejudgment interest.
                                                          prejudgment   interest.
15           34. As a proximate
                      proximateresult
                                resultofofthe
                                            thewrongful
                                                wrongfulacts of Defendants,
                                                          acts              andand
                                                                of Defendants,  eacheach
                                                                                     of them,  Plaintiff
                                                                                          of them,  Plaintiff
16    has
      has suffered
          sufferedand
                   andcontinues
                       continuestoto
                                   suffer emotional
                                     suffer         distress,
                                            emotional         humiliation,
                                                       distress,           mental
                                                                 humiliation,     anguish
                                                                              mental      and and
                                                                                      anguish
 17   embarrassment, asaswell
      embarrassment,      wellasasthethe
                                       manifestation of physical
                                         manifestation           symptoms.
                                                        of physical        Plaintiff
                                                                    symptoms.        is informed
                                                                               Plaintiff           and and
                                                                                           is informed
 18   believes and
               andthereupon
                   thereuponalleges
                              allegesthat hehe
                                       that will continue
                                               will       to experience
                                                    continue            saidsaid
                                                             to experience   physical and emotional
                                                                                 physical and emotional
 19   suffering for
      suffering  foraaperiod
                       periodininthethc
                                      fitture notnot
                                         future   presently ascertainable,
                                                     presently             all inall
                                                               ascertainable,     anin
                                                                                     amount subjectsubject
                                                                                       an amount    to proofto proof
 20   at
      at the
         thetime
             timeofoftrial.
                      trial.
21           35. As a proximate
                      proximateresult
                                resultofofthe
                                            thewrongful
                                                wrongfulacts of Defendants,
                                                          acts              Plaintiff
                                                                of Defendants,        has been
                                                                               Plaintiff       forced
                                                                                          has been  forced
22    to hire
         hireattorneys
              attorneystotoprosecute
                            prosecutehishis
                                         claims herein,
                                            claims      andand
                                                   herein,  has has
                                                                incurred and isand
                                                                    incurred    expected to continue
                                                                                   is expected       to
                                                                                               to continue to
23    incur
      incurattorneys'
            attorneys'fees
                        feesand
                             andcosts in in
                                  costs  connection therewith.
                                            connection         Plaintiff
                                                       therewith.        is entitled
                                                                   Plaintiff         to recover
                                                                              is entitled       attorneys'
                                                                                          to recover  attorneys'
24    fees and
           and costs
               costsunder
                     underCalifornia
                           CaliforniaGovernment
                                      GovernmentCode § 12965(b).
                                                  Code  § 12965(b).
25           36. The
                 The actions
                     actionstaken
                             takenagainst
                                   againstPlaintiff were
                                            Plaintiff    carried
                                                      were       out out
                                                            earned   andand
                                                                         ratified by officers
                                                                              ratified        and and
                                                                                       by officers
26    managers
      managersofofDefendants.
                   Defendants.InInaddition, Defendant
                                    addition,         hadhad
                                              Defendant   in place policies
                                                              in place      and procedures
                                                                       policies            to prevent
                                                                                and procedures   to prevent
27    discrimination
      discriminationand
                     andretaliation. However;
                          retaliation.        Defendants
                                       However,          chose
                                                Defendants     to consciously
                                                            chose             and willfully
                                                                   to consciously           ignore
                                                                                  and willfully  ignore
28    said
      said policies
           policies and
                    andprocedures
                        proceduresand therefore,
                                    and          their
                                        therefore,     outrageous
                                                    their         conduct
                                                           outrageous     was fraudulent,
                                                                      conduct             malicious,
                                                                               was fraudulent,  malicious,
                                                         7
                                          COMPLAINT FOR DAMAGES
        Case 5:22-cv-02822-EJD Document 1-2 Filed 05/12/22 Page 16 of 79




         1    oppressive, and
              oppressive,  andwas
                               wasdone
                                   doneininwanton
                                            wantondisregard
                                                    disregard
                                                            for for
                                                                the the
                                                                    rights
                                                                        rights
                                                                           of Plaintiff
                                                                               of Plaintiff
                                                                                        and the
                                                                                             andrights
                                                                                                  the rights
                                                                                                       and duties
                                                                                                             and duties
         2    owed by
                   by each
                      eachDefendant
                           DefendanttotoPlaintiff.
                                         Plaintiff.Each
                                                    EachDefendant
                                                          Defendant
                                                                  aided,
                                                                     aided,
                                                                         abetted,
                                                                            abetted,
                                                                                  participated
                                                                                       participated
                                                                                               in, authorized,
                                                                                                     in, authorized,
         3    ratified,
              ratified,and/or
                        and/orconspired
                               conspiredto to
                                           engage
                                              engage
                                                  in the
                                                     in the
                                                         wrongful
                                                            wrongful
                                                                  conduct
                                                                     conduct
                                                                          alleged
                                                                              alleged
                                                                                  above.
                                                                                      above.
                                                                                         Plaintiff
                                                                                              Plaintiff
                                                                                                   should,
                                                                                                        should,
         4    therefore,
              therefore,be
                         beawarded
                            awardedexemplary
                                     exemplary
                                             andand
                                                 punitive
                                                    punitive
                                                          damages
                                                             damages
                                                                  against
                                                                      against
                                                                          each each
                                                                               Defendant
                                                                                    Defendant
                                                                                         in an amount
                                                                                               in an amount
                                                                                                      to    to
         5    be established
                 establishedthat
                             thatisisappropriate
                                      appropriateto punish eacheach
                                                    to punish   Defendant and deter
                                                                    Defendant       othersothers
                                                                              and deter    from engaging in
                                                                                                 from engaging in
         6    such
              such conduct
                   conductininthe
                               thefuture.
                                   future.
         7                                     FOURTH CAUSE OF ACTION
                                                               ACTION
         8           VIOLATION OFCALIFORNIA
                     VIOLATION OF CALIFORNIALABOR
                                             LABORCODE
                                                   CODESECTIONS
                                                        SECTIONS1019.1
                                                                 1019.1 and
                                                                        and 98.6
                                                                            98.6
         9                                        (Against
                                                  (AgainstALL
                                                           ALLDefendants)
                                                               Defendants)
        10               Plaintiff restates
                     37. Plaintiff  restatesand
                                             andincorporates by by
                                                  incorporates  thisthis
                                                                     reference as ifas
                                                                         reference   fully set forth
                                                                                       if fully      hereinherein
                                                                                                set forth
        11    paragraphs
              paragraphs1 1through 3636
                             through  of of
                                         thisthis
                                               Complaint.
                                                  Complaint.
06n)    .12         38. At all
                           all times
                               timesmentioned
                                     mentionedherein
                                               hereinCalifornia
                                                      CaliforniaLabor
                                                                LaborCode
                                                                      Code§ 1019.1 was in
                                                                                       in full
                                                                                          fullforce
                                                                                               forceand
                                                                                                     and
        13    effect, and
                      andwere
                          werebinding
                               bindingononDefendants,
                                           Defendants,andand
                                                          each of them.
                                                             each of them.
        14           39. California
                         CaliforniaLabor
                                    LaborCode         prohibits an
                                         Code§ 1019.1 prohibits  anemployer
                                                                    employertotorequest more
                                                                                  request    or different
                                                                                          more  or different
cO
cif)    15    work
              work authorization
                   authorizationdocuments
                                 documentsthan required
                                            than        by federal
                                                  required         law, law,
                                                            by federal  refuserefuse
                                                                                to accept work authorization
                                                                                     to accept work authorization

 c.1(   16    documents
              documentsthat
                        thatreasonably
                             reasonablyappear to be
                                         appear  to genuine on their
                                                    be genuine       face,face,
                                                                on their   refuse to honor
                                                                                refuse     documents
                                                                                       to honor      or work
                                                                                                documents  or work
        17    authorization
              authorizationbased
                            basedononthethe
                                          specific status
                                            specific      or term
                                                      status      of status
                                                             or term        that that
                                                                      of status  accompanies the authorization
                                                                                      accompanies              to
                                                                                                   the authorization to
        18    work,
              work, or
                    orattempt
                       attempttotoreinvestigate or or
                                    reinvestigate  reverify a current
                                                      reverify        employee's
                                                               a current         authorization
                                                                         employee's            to work
                                                                                      authorization  tousing
                                                                                                        workan
                                                                                                             using an
        19    unfair
              unfairimmigration-related
                     immigration-relatedpractice.
                                          practice.
        20           40. Defendant
                         Defendantviolated
                                   violatedCalifornia
                                            CaliforniaLabor
                                                      LaborCode
                                                            Code§ 1019.1.
        21           41. As a proximate
                              proximateresult
                                        resultofofthe
                                                    theaforesaid actsacts
                                                         aforesaid     of Defendants andand
                                                                          of Defendants eacheach
                                                                                             of them,  Plaintiff
                                                                                                  of them,  Plaintiff
        22    has
              has lost,
                  lost, and
                        andwill
                            willcontinue
                                 continuetotolose,
                                               lose,earnings
                                                     earningsandand
                                                                 fringe benefits
                                                                    fringe       andand
                                                                           benefits has suffered and/or
                                                                                        has suffered    will suffer
                                                                                                     and/or   will suffer
        23    other
              otheractual,
                    actual,consequential
                            consequentialand incidental
                                           and          financial
                                               incidental         losses,
                                                           financial      in aninamount
                                                                      losses,           to beto
                                                                                  an amount   proven at trialatintrial in
                                                                                                be proven
        24    excess of the
                        the jurisdictional
                            jurisdictionalminimum
                                           minimumofof
                                                    this court.
                                                       this     Plaintiff
                                                            court.        claims
                                                                   Plaintiff      suchsuch
                                                                              claims   amounts as damages
                                                                                           amounts  as damages
        25    together with
              together withprejudgment
                            prejudgmentinterest pursuant
                                          interest       to Civil
                                                   pursuant  to Code
                                                                  Codesection
                                                                      section 3287
                                                                              3287 and/or
                                                                                   and/orsection
                                                                                          section3288
                                                                                                  3288
        26    and/or
              and/orany
                     anyother
                         otherprovision
                               provisionof of
                                           law  providing
                                              law         for for
                                                  providing    prejudgment interest.
                                                                  prejudgment   interest.
        27          42. As a proximate
                             proximateresult
                                       resultofofthe
                                                   theaforesaid actsacts
                                                        aforesaid     of Defendants andand
                                                                         of Defendants  eacheach
                                                                                             of them,  Plaintiff
                                                                                                  of them,  Plaintiff
        28    has
              has become
                  becomementally
                         mentallyupset,
                                  upset,distressed, embarrassed,
                                          distressed,            humiliated,
                                                      embarrassed,           and aggravated.
                                                                    humiliated,              Plaintiff
                                                                                 and aggravated.       claimsclaims
                                                                                                   Plaintiff
                                                            88
                                                 COMPLAINT FOR DAMAGES
                                                               DAMAGES
Case 5:22-cv-02822-EJD Document 1-2 Filed 05/12/22 Page 17 of 79




 1   general damages
     general damagesfor
                     forsuch
                         suchmental
                              mentaland
                                      and
                                        physical
                                          physical
                                                 distress
                                                    distress
                                                          andand
                                                             aggravation
                                                                 aggravation
                                                                         in a sum
                                                                               in ain
                                                                                    sum
                                                                                      excess
                                                                                         in excess
                                                                                             of theof the
 2   jurisdictionalminimum
     jurisdictional minimum of this
                               this court.
                                    court.
 3            Because the
           41 Became  the acts
                          actstaken
                               takentoward
                                     towardPlaintiff were
                                             Plaintiff    carried
                                                       were       out out
                                                             carried  by Plaintiff's supervisors,
                                                                          by Plaintiff's  supervisors,
 4   who was aa managerial
                managerialemployee
                           employeeacting
                                    actingin in
                                              a deliberate, cold,
                                                a deliberate,     callous,
                                                               cold,       cruel
                                                                      callous,   and and
                                                                               cruel intentional
                                                                                          intentional
 5   manner, ininconscious
     manner,      consciousdisregard
                            disregardof of
                                        Plaintiff's rights
                                           Plaintiff's     andand
                                                       rights  in order to injure
                                                                   in order        and damage
                                                                              to injure       him, him,
                                                                                        and damage
 6   Plaintiff requests
     Plaintiff  requeststhat
                         thatpunitive
                              punitivedamages be be
                                        damages  levied against
                                                    levied      Defendants
                                                           against         and each
                                                                   Defendants       of them,
                                                                               and each       in sums
                                                                                          of them, in sums
 7   in excess of the
                  the jurisdictional minimum of this
                       jurisdictionalminimum    this court.
                                                     court.
 8             Further, Defendant
           44. Further,  Defendantis isliable forfor
                                         liable   a civil penalty
                                                     a civil      of ten
                                                             penalty      thousand
                                                                      of ten       dollars
                                                                             thousand      ($10,000),
                                                                                       dollars ($10,000),
 9   pursuant totoCalifornia
     pursuant      CaliforniaLabor Code
                             Labor Code§ 1019.1(b)(3)
10             Furthermore, atatallall
           45. Furthermore,         times mentioned
                                       times        herein
                                             mentioned     California
                                                       herein         Labor Code
                                                              California
                                                                      Labor Code§ 98.6 was in
                                                                                           in full
                                                                                              full
11   force and
           andeffect,
               effect,and
                       andwere
                           werebinding
                                bindingonon
                                          Defendants, andand
                                            Defendants,   eacheach
                                                                of them.
                                                                    of them.
12             California Labor
           46. California Labor Code
                                Code§ 98.6(a) prohibits
                                              prohibitsand
                                                        andemployer
                                                            employerfrom discharging
                                                                      from           or in
                                                                           discharging   orany
                                                                                            in any
13   manner discriminate,
     manner  discriminate,retaliate, or or
                            retaliate,  taketake
                                              anyany
                                                  adverse action
                                                     adverse     against
                                                              action     any employee
                                                                     against          or applicant
                                                                              any employee         for
                                                                                            or applicant for
14   employment because
     employment  becausethe
                         theemployee
                             employeeoror
                                        applicant engaged
                                          applicant       in any
                                                    engaged       conduct
                                                              in any      delineated
                                                                     conduct         in certain
                                                                              delineated  in certain
15   sections of
              of the Labor Code.
                 theLabor        including California
                           Code.including  CaliforniaLabor
                                                      LaborCode
                                                           Code§ 1019.1.
16             Defendant violated
           47. Defendant  violatedCalifornia
                                   CaliforniaLabor
                                             LaborCode
                                                   Code§ 98.6.
17         48. As a result,
                    result,Plaintiff
                            Plaintiffentitled
                                      entitledtoto
                                                 reinstatement andand
                                                   reinstatement   reimbursement for lost
                                                                       reimbursement   forwages  and and
                                                                                           lost wages
18   work benefits
     work benefitscaused
                   causedDefendant,
                          Defendant,pursuant to California
                                      pursuant             Labor Code
                                                to California
                                                           Labor Code§ 98.6(b)(1).
19             In addition,
           49. In addition,Defendant
                            Defendantisisliable forfor
                                           liable    a civil penalty
                                                       a civil       of ten
                                                               penalty      thousand
                                                                        of ten       dollars
                                                                               thousand      ($10,000),
                                                                                         dollars ($10,000),
20   pursuant totoCalifornia
     pursuant      CaliforniaLabor Code
                             Labor Code§ 98.6(b)(3).
21                                    flit iHCAUSE
                                      fa III  CAUSEOF
                                                   OF ACTION
                                                      ACTION
22
2,               WRONGFUL TERMINATION
                 WRONGFUL TERMINATIONMT
                                      IN VIOLATION
                                         VIOLATION OF
                                                   OF PUBLIC POLICY
23                                      (Against ALL Defendants)
24             Plaintiff restates
           50: Plaintiff  restatesand
                                   andincorporates by by
                                        incorporates  thisthis
                                                           reference as ifasfully
                                                               reference          set forth
                                                                              if fully      herein
                                                                                       set forth herein
25   paragraphs 1 1through
     paragraphs            4949
                     through  of of
                                 this Complaint.
                                    this Complaint.
26         51.    The FEIIA
                  The FEIIAand
                            andCalifornia
                                CaliforniaLabor
                                          LaborCode
                                                Code§§ 1019.1 and
                                                              and 98.6
                                                                  98.6 reflect
                                                                        reflectpublic
                                                                                publicpolicies
                                                                                       policiesofof
27   the State
         Stateof
               ofCalifornia,
                 California,which
                             whichareare
                                       designed to protect
                                         designed          all employees
                                                   to protect            and and
                                                               all employees to promote the welfare
                                                                                  to promote the welfare
28   and well-being
     and well-beingof
                    ofthe
                       thecommunity
                           communityatat
                                       large. Accordingly,
                                         large.            thethe
                                                Accordingly,   actions of Defendants,
                                                                  actions             and each
                                                                           of Defendants,      of of
                                                                                          and each
                                                 9
                                       COMPLAINT FOR DAMAGES
       Case 5:22-cv-02822-EJD Document 1-2 Filed 05/12/22 Page 18 of 79




        1   them, in
            them,  interminating
                      tcnninatingPlaintiff
                                  Plaintiffonon
                                              thethe
                                                   grounds
                                                     grounds
                                                           alleged
                                                               alleged
                                                                    and.described
                                                                       and.described
                                                                                  herein
                                                                                      herein
                                                                                         were were
                                                                                              wrongful
                                                                                                   wrongful
                                                                                                       and inand in
        2   contravention ofofexpress
            contravention      expresspublic
                                       publicpolicies
                                               policies
                                                      ofof
                                                        thethe
                                                             State
                                                               State
                                                                   of California
                                                                      of California
                                                                                 andand
                                                                                    the laws
                                                                                         the laws
                                                                                              and regulations
                                                                                                  and regulations
        3   promulgated  thereunder.
            promulgated thereunder.
        4         52. As a proximate
                           proximateresult
                                     resultofOf
                                              thethe
                                                   aforesaid actsacts
                                                     aforesaid    of Defendants, and and
                                                                      of Defendants, eacheach
                                                                                          of them,  Plaintiff
                                                                                               of them.  Plaintiff
        5   has suffered
                sufferedactual,
                         actual,consequential
                                 consequentialand incidental
                                                and          financial
                                                     incidental        losses,
                                                                 financial     including
                                                                           losses,       without
                                                                                   including     limitation,
                                                                                             without  limitation,
        6   loss of salary
                    salaryand
                           andbenefits,
                               benefits,and
                                         andthethe
                                                 intangible lossloss
                                                   intangible     of employment related
                                                                     of employment      opportunities
                                                                                    related           in hisin his
                                                                                            opportunities
        7   field and
                  anddamage
                      damagetotohis
                                 hisprofessional
                                     professionalreputation, all in
                                                   reputation,   allan
                                                                     in amount subject
                                                                        an amount      to proof
                                                                                   subject      at the at
                                                                                            to proof   time
                                                                                                          theoftime of
        8   trial. Plaintiffclaims
            trial. Plaintiff claimssuch
                                    suchamounts
                                         amOunts   as damages
                                                as damages    pursuant
                                                           pursuant     to Civil
                                                                    to Civil CodeCode  § 3287
                                                                                  § 3287      and/or
                                                                                         and/or § 3288§ 3288
        9   and/or any
            and/or  anyother
                        otherprovision
                              provisionofof
                                         law  providing
                                            law         forfor
                                                providing   prejudgment interest.
                                                               prejudgment   interest.
       10         53. The
                      The actions
                          actionstaken
                                  takenagainst
                                        againstPlaintiff were
                                                 Plaintiff    carried
                                                           were       out out
                                                                 carried  and and
                                                                              ratified by officers
                                                                                   ratified        and and
                                                                                            by officers
       11   managers ofofDefendants.
            managers      Defendants.InIn
                                        addition, Defendant
                                          addition,         hadhad
                                                    Defendant  in place poliCies
                                                                   in place      and and
                                                                            policies procedures that that
                                                                                         procedures
0.6n   12   specifically prohibited
            specifically prohibiteddiscrimination
                                    discriminationandand
                                                      retaliation based
                                                         retaliation    on aon
                                                                     based   disability and required
                                                                                a disability and required
       13   Defendant's
            Defendant'smanagers,
                        managers,officers, andand
                                   'officers,  agents to prevent
                                                  agents         discrimination
                                                          to prevent            and retaliation
                                                                     discrimination             againstagainst
                                                                                     and retaliation    and and
0z— 14 14   upon employees
            upon employeesof
                           ofDefendant:
                             Defendant:However,
                                        However,Defendants
                                                 Defendantschose to consciously
                                                             chose              andand
                                                                    to consciously  willfully ignore
                                                                                        willfully ignore
Cr 0
       15
  (.9 15    said policies
            said policies and
                          andprocedures
                              proceduresand therefore,
                                          and          their
                                              therefore,     outrageous
                                                          their         conduct
                                                                 outrageous     was fraudulent,
                                                                            conduct             malicibits,
                                                                                     was fraudulent,  malicibtis,
       16   oppressive,
            oppressive,and
                        andwas
                            wasdone
                                doneininwanton
                                         wantondisregard for for
                                                 disregard    the the
                                                                  rights of Plaintiff
                                                                      rights          and the
                                                                             of Plaintiff  andrights and duties
                                                                                                the rights and duties
       17   owed by
            owed    each• Defendant
                 by.each  DefendanttotoPlaintiff.
                                        Plaintiff.Each
                                                   EachDefendant aided,
                                                         Defendant      abetted,
                                                                    aided,       participated
                                                                           abetted,           in, authorized,
                                                                                     participated   in, authorized,
       18   ratified, and/or
            ratified,  and/orconspired
                              conspiredto to
                                           engage in in
                                             engage  thethe
                                                         wrongful conduct
                                                            wrongful      alleged
                                                                     conduct      above.
                                                                              alleged    Plaintiff
                                                                                      above.       should,
                                                                                              Plaintiff should,
       19   therefore, be
            therefore,  beawarded
                           awardedexemplary andand
                                    exemplary   punitive damages
                                                   punitive      against
                                                            damages      eacheach
                                                                     against  Defendant in an amount
                                                                                  Defendant          to
                                                                                              in an amount to
       20   be established
               establishedthat
                           thatisisappropriate
                                    appropriateto punish eacheach
                                                  to punish   Defendant and deter
                                                                  Defendant       othersothers
                                                                            and deter    from engaging in
                                                                                               from engaging in
       21   such conductininthe
            such conduct     thefuture.
                                 future.
       22
       2?   II/
            ///
       23   ///
       24   ///
       25   /1/
            ///
       26   ///
       27   ///
       28   ///
                                                          10
                                               COMPLAINT. FOR DAMAGES
                                               COMPLAINT FOR
Case 5:22-cv-02822-EJD Document 1-2 Filed 05/12/22 Page 19 of 79




 1       WHEREFORE, Plaintiff prays for judgment as follows:
 2          1. For
               For general
                   generaldamages
                           damagesininanan
                                         amount within
                                           amount      the the
                                                  within    jurisdictional limitslimits
                                                                jurisdictional     of this
                                                                                        ofCourt;
                                                                                           this Court;
 3          2. For
               For special
                   specialdamages,
                           damages,according
                                    accordingto to
                                                 proof;
                                                   proof;
 4          3. For
               For punitive
                   punitivedamages;
                            damages;
 5          4. For
               For medical
                   medicalexpenses
                           expensesand
                                    andrelated items
                                         related      of of
                                                  items  expense, according
                                                            expense,        to proof;
                                                                     according  to proof;
 6          5. For
               For loss
                    loss of
                         of earnings,
                            earnings,according
                                      accordingtoto
                                                  proof;
                                                    proof;
 7             For attorney's
            6. For attorney'sfees,
                               fees,according
                                     accordingto to
                                                 proof,
                                                    proof;
 8          7. For
               For prejudgment
                   prejudgmentinterest, according
                                interest,         to proof;
                                          according  to proof;
 9          8. For
               For costs
                   costsof
                         ofsuit
                            suitincurred
                                 incurredherein;
                                           herein;
10          9. FOr
               For civil penalties;
                         penalties;
11          10.For
               For declaratory
                   declaratoryrelief;
                                relief;
12          11.For
               For injunctive
                    injunctiverelief;
                               relief;and
                                       and
13          12.For
               For such
                   suchother
                        otherrelief
                              reliefand
                                     andthethe
                                             Court maymay
                                               Court   deem justjust
                                                          deem   and and
                                                                     proper.
                                                                         proper.
14
15                               DEMAND FOR JURY TRIAL
16       Plaintiff
         Plaintiffhereby
                   herebydemands
                          demandsa trial by by
                                   a trial  jury.
                                               jury.
17
18
19   DATED:
     DATED: March
            March4,4,2022
                      2022                        BROCK
                                                  BROCK&&GONZALES,
                                                         GONZALES,LLP
                                                                   LLP
20
21
22                                         By:
                                           By:
23                                                D. AARON
                                                     AARON BROCK
                                                           BROCK
24                                                Attorneys
                                                  Attorneysfor
                                                            forPlaintiff
                                                                Plaintiff
25
26
27
28
                                             11
                                   COMPLAINT FOR DAMAGES
Case 5:22-cv-02822-EJD Document 1-2 Filed 05/12/22 Page 20 of 79




             EXHIBIT 5
                                                                              nnn\ lnnrn-IA                                                                                                                                               Pos'o1c
                                                                              “U V ”"0
                                             Case 5:22-cv-02822-EJD       Document     1-2 Filed 05/12/22 PageFOR
                                                                                                               21COURT
                                                                                                                  of 79
                                                                                                                                               ’
                                                                                                                                                   L'_
 ATTORNEY 0R PARTY WITHOUT ATTORNEY (Name, State          Bar number, and                                  address)    USE ONLY
                                                                            Santa Clara - CW”
                                                                                                                                                          _




_ D. Aaron Brock, Esq. SBN: 241919           |




     BROCK & GONZALES                                LLP
     6701 Center Drive West Ste 610                                     Los Angeles,                    CA 90045                                                                                                                                       R   .   Fleming

     TELEPHONE NO.: (310) 694-3590 FAX NO.       |
                                                               (310) 961-3673           |
                                                                                            E-MAIL   ADDRESS        ab@brockgonzales.com
      ATTORNEY FOR(Name).- Plaintiff:                                                                                                                                                    EIectronicaHy FiIed
                                                                                                                                                                                         by SUperior court Of CA,
  SANTA CLARA COUNTY SUPERIOR COURT
                                                        _
                                                                                                                                                                                         County of Santa Clara,
            STREETADDRESS:1891
                                                 :1   FlrstCSAtr:::13                                                                                                                    on 4/1 4/2022 5:26 PM
           C'TYANDZ'P CODE                  a“        039’
                                                                                                                                                                                         Reviewed By: R. Fleming
                BRAN ° H NAME:
                                                                                                                                                                                         Case #22cv395674
          PLAINTIFF/PETITIONER: Matthew Doherty, an Individual                                                                                                                           Envelope: 8756403
                                                                                                                                                                                         CASE NUMBER:
DEFENDANT/RESPONDENT: ASSURION UBIF FRANCHISE LLC, a Delaware                                                                                      Limited Liability
                                                       Company                                                                                                                           220v395674

                                                                                                                                                                                         Ref. No. or File No.:
                                                            PROOF OF SERVICE OF SUMMONS                                                                                                              Matthew Doherty           v_   Assurion

                                                                       (Separate proof of service                          is   required for each party served.)

1.   At the time of service                  |   was        at least         18 years of age and not a party to                           this action.

2.    |   served copies              of:


     a-    M Summons
     b-          Complaint
     C-    D     Alternative Dispute Resolution                                   (ADR) package
     d.          Civil   Case Cover Sheet
     e.    D     Cross-Complaint
     f-          other (specify documents): Civil Lawsuit Notice
3.   a.    Party served (specify                      name     ofparty as shown on documents served):
     ASSURION UBIF FRANCHISE LLC, A DELAWARE LIMITED LIABILITY COMPANY

     b-    M     Person (other than the party
                 item 5b on                whom       substituted service
                                                                             in    item 3a) served on behalf of an entity or as an authorized agent (and not a person under
                                                                                         was made) (specify name and relationship to the party named in item 3a):
           CT    Corporation System, Registered Agent, by Serving Sarai M.                                                                                    -   Authorized Agent
                                             Age: 31-35            |
                                                                       Weight:              |
                                                                                                Hair:   Black   |
                                                                                                                    Sex: Female       |
                                                                                                                                          Height: 5'7             -   6'0
                                                                                                                                                                            |
                                                                                                                                                                                Eyes: Green    |
                                                                                                                                                                                                   Race: Latino

4.   Address where the party was served: 330                                                    N Brand Blvd Ste 700
                                                                                   Glendale,              CA 91203-2336
5.    |   served the party (check proper box)
     a—          by personal service.                          |   personally delivered the documents listed                                   in        item 2 to the party or person authorized to
                 receive service of process for the party (1) on (date): 4/13/2022                                                            (2) at (time):                     12:30   PM
     b-    D     by substituted service. On (date): at (time):                                                       |   left   the documents listed                   in       item 2 with or
                 in the presence of (name and title or relationship                                                  to   person indicated          in        item 3b):


                (1)   D          (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                                 person to be served.  informed him of her of the general nature of the papers.
                                                                              |




                (2)   D          (home) a competent                          member  of the household (at least 18 years of age) at the dwelling house or usual place of
                                 abode       of the party.               |   informed him or her of the general nature ofthe papers.

                (3)   D          (physical address                      unknown) a person             at least 18 years of age apparently in charge at the usual mailing
                                 address of the person                            to   be served, other than a United States Postal Service post ofﬁce box.     informed him of                                  |




                                 her of the general nature of the papers.

                (4)   D          |thereafter mailed (by ﬁrst—class, postage prepaid) copies of the documents to the person to be served at the
                                 place where the copies were left (Code Civ. Proc., §415.20). mailed the documents on                                |




                                 (date):             from    (city):                                                                                                  OI”
                                                                                                                                                                            D      a declaration of mailing          is   attached.

                (5)   D          |   attach a declaration of diligence stating actions taken                                                 first       to    attempt personal service.




                                                                                                                                                                                                                                            Page   1   of2
Form Approved    for Mandatory         Use                                                                                                                                                                           Code   of Civil Procedure, § 417.10
Judicial Council of California
POS—010     [Rev. January   1,   2007]
                                                                                                PROOF OF SERVICE OF SUMMONS                                                                                                 P0801 0-1 ILA261 696
              PETITIONER: Matthew                 Case    5:22-cv-02822-EJD
                                                    Doherty, an Individual  Document 1-2 Filed 05/12/22CASE
                                                                                                         Page  22 of 79
                                                                                                            NUMBER:
                                                                                                                                                                                   22CV395674
         RESPONDENT: ASSURION                           UBIF FRANCHISE LLC, a Delaware Limited                  Liability   Company


     c_       D        by mail and acknowledgment of receipt of service.                                    |    mailed the documents             listed in   item 2 to the party, to the address
                       shown in item 4, by ﬁrst—class mail, postage prepaid,

                       (1)   on     (date):                                                                         (2)     from   (city):

                       (3)D             with two copies of the Notice    and Acknowledgment of Receipt and a postage-paid return envelope addressed                                                   to   me.
                                         (Attach    completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)

                       (MD              to   an address outside California with return receipt requested. (Code                                 Civ. Proc.,   § 415.40.)
     d.       D        by other means                 (specify   means        of service and authorizing code section):




              D         Additional              page describing service         is   attached.
6.   The "Notice                  to the        Person Served" (on the summons) was completed as                              follows:

     a-       D        as an individual defendant.
     b-                as the person sued under the ﬁctitious                         name     of (specify):
     C-                as occupant.
     d-                On    behalf of ASSURION                  UBIF FRANCHISE LLC, a Delaware Limited                                   Liability   Company
                       under the following Code of                    Civil   Procedure section:

                                             D      416.10 (corporation)                                                     415.95 (business organization, form unknown)
                                             D      416.20 (defunct corporation)                                             416.60 (minor)
                                             D      416.30   (joint   stock company/association)                   DDDDD     416.70 (ward or conservatee)
                                             D      416.40 (association or partnership)                                      416.90 (authorized person)
                                             D      416.50 (public      entity)                                              41 5.46 (occupant)

                                                                                                                   M         other:   Limited Liability       Company
7.   Person who served papers
     a.Name: Dion Jones - Nationwide Legal,                                             LLC REG: 12-234648
              Address:              1609 James           M Wood           Blvd.       Los Angeles, CA 90015
     99-99"
              Telephone number: (213) 249-9999
              The fee for service was: $ 122.75
              |   am:

              (1)      D     not a registered California process server.

              (2)            exempt from             registration     under Business and Professions Code section 22350(b).
              (3)            re

                           (i)
                                        istered California process server:
                                             owner       employee                                   M       independent contractor.
                           (ii)                    2013128925
                                   Registration No.:
                           (iii)   County: Los Angeles


3_   M            I   declare under penalty of perjury under the laws of the State of California that the foregoing                                             is   true   and   correct.

                  or

9_   D            I   am   a California sheriff or marshal and                        |   certify that   the foregoing        is   true   and   correct.




                       Date: 4/1 3/2022

                       Nationwide Le al, LLC
                       1609 James M    ood Blvd.
                       Los An eles, CA 90015
                       (213) 2 9-9999
                       www.nationwideasap.com




                                                     Dion Jones                                                              ’
                             (NAME OF PERSON          WHO SERVED PAPERS/SHERIFF OR MARSHAL)                                                                          \____/)

POS‘°‘°           [Revma'y              2°07]
                                   1'
                                                                                     PROOF 0F SERVICE 0F SUMMONs                                                                                   01OIL22966126‘362
                                                                                                                                                                                             P08
Case 5:22-cv-02822-EJD Document 1-2 Filed 05/12/22 Page 23 of 79




             EXHIBIT 6
                             Case 5:22-cv-02822-EJD Document 1-2 Filed 05/12/22 Page 24 of 79

                            Secretary of State                                                      LLC-12                                        21-G09270
                            Statement of Information
                            (Limited Liability Company)                                                                                            FILED
                                                                                                                                   In the office of the Secretary of State
 IMPORTANT — Read instructions before completing this form.                                                                               of the State of California

 Filing Fee – $20.00
                                                                                                                                                  NOV 18, 2021
 Copy Fees – First page $1.00; each attachment page $0.50;
             Certification Fee - $5.00 plus copy fees
                                                                                                                                   This Space For Office Use Only
 1. Limited Liability Company Name (Enter the exact name of the LLC. If you registered in California using an alternate name, see instructions.)
  ASURION UBIF FRANCHISE, LLC
 2. 12-Digit Secretary of State File Number                                           3. State, Foreign Country or Place of Organization (only if formed outside of California)
                             202018210818                                               DELAWARE
 4. Business Addresses
 a. Street Address of Principal Office - Do not list a P.O. Box                                      City (no abbreviations)                                       State    Zip Code
 140 11 Ave. N                                                                                       Nashville                                                     TN       37203
 b. Mailing Address of LLC, if different than item 4a                                                City (no abbreviations)                                       State    Zip Code
 140 11 Ave. N                                                                                       Nashville                                                     TN       37203
 c. Street Address of California Office, if Item 4a is not in California - Do not list a P.O. Box    City (no abbreviations)                                       State    Zip Code
                                                                                                                                                                    CA
                                             If no managers have been appointed or elected, provide the name and address of each member. At least one name and address
                                             must be listed. If the manager/member is an individual, complete Items 5a and 5c (leave Item 5b blank). If the manager/member is
 5. Manager(s) or Member(s)                  an entity, complete Items 5b and 5c (leave Item 5a blank). Note: The LLC cannot serve as its own manager or member. If the LLC
                                             has additional managers/members, enter the name(s) and addresses on Form LLC-12A (see instructions).
 a. First Name, if an individual - Do not complete Item 5b                                           Middle Name                      Last Name                                         Suffix


 b. Entity Name - Do not complete Item 5a
  Roger A. Detter
 c. Address                                                                                          City (no abbreviations)                                       State    Zip Code
  160 BOVET RD STE 402                                                                               SAN MATEO                                                     CA      94402
 6. Service of Process (Must provide either Individual OR Corporation.)
      INDIVIDUAL – Complete Items 6a and 6b only. Must include agent’s full name and California street address.
 a. California Agent's First Name (if agent is not a corporation)                                    Middle Name                      Last Name                                         Suffix


 b. Street Address (if agent is not a corporation) - Do not enter a P.O. Box                         City (no abbreviations)                                       State    Zip Code
                                                                                                                                                                    CA
      CORPORATION – Complete Item 6c only. Only include the name of the registered agent Corporation.
 c. California Registered Corporate Agent’s Name (if agent is a corporation) – Do not complete Item 6a or 6b

NATIONAL REGISTERED AGENTS, INC. (C1941323)
 7. Type of Business
 a. Describe the type of business or services of the Limited Liability Company
 Performs Repairs and Services
 8. Chief Executive Officer, if elected or appointed
 a. First Name                                                                                       Middle Name                      Last Name                                         Suffix
 Roger                                                                                               A.                               Detter
 b. Address                                                                                          City (no abbreviations)                                       State    Zip Code
 160 Bovet Rd. Ste. 402                                                                              SAN MATEO                                                      CA      94402
 9. The Information contained herein, including any attachments, is true and correct.

   11/18/2021                    Nikki Brown                                                                           Supervisor
  _____________________            ____________________________________________________________                        _________________________     __________________________________
   Date                              Type or Print Name of Person Completing the Form                                   Title                          Signature
Return Address (Optional) (For communication from the Secretary of State related to this document, or if purchasing a copy of the filed document enter the name of a
person or company and the mailing address. This information will become public when filed. SEE INSTRUCTIONS BEFORE COMPLETING.)

Name:                                                                                                             
Company:

Address:
City/State/Zip:                                                                                                   

 LLC-12 (REV 01/2017)
                                                                                            Page 1 of 2                                            2017 California Secretary of State
                                                                                                                                                      www.sos.ca.gov/business/be
                     Case 5:22-cv-02822-EJD Document 1-2 Filed 05/12/22 Page 25 of 79

                   Attachment to                                                                         21-G09270
                                                              LLC-12A
                   Statement of Information
                                                             Attachment
                   (Limited Liability Company)

A. Limited Liability Company Name
ASURION UBIF FRANCHISE, LLC




                                                                                                  This Space For Office Use Only
B.   12-Digit Secretary of State File Number                C.   State or Place of Organization (only if formed outside of California)

                     202018210818                                                            DELAWARE


D. List of Additional Manager(s) or Member(s) - If the manager/member is an individual, enter the individual’s name and address.                If the
   manager/member is an entity, enter the entity’s name and address. Note: The LLC cannot serve as its own manager or member.

     First Name                                                    Middle Name               Last Name                                         Suffix
John                                                               A.                        Storey
     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code
140 11 Ave. N                                                      Nashville                                                  TN       37203
     First Name                                                    Middle Name               Last Name                                         Suffix


     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code


     First Name                                                    Middle Name               Last Name                                         Suffix


     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code


     First Name                                                    Middle Name               Last Name                                         Suffix


     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code


     First Name                                                    Middle Name               Last Name                                         Suffix


     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code


     First Name                                                    Middle Name               Last Name                                         Suffix


     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code


     First Name                                                    Middle Name               Last Name                                         Suffix


     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code




LLC-12A -   Attachment (EST 07/2016)                          Page 2 of 2                                           2016 California Secretary of State
                                                                                                                       www.sos.ca.gov/business/be
Case 5:22-cv-02822-EJD Document 1-2 Filed 05/12/22 Page 26 of 79




             EXHIBIT 7
Case 2:15-cv-02057-MRW
         Case 5:22-cv-02822-EJD
                          Document
                                Document
                                   121-5 Filed
                                          1-2 07/13/17
                                               Filed 05/12/22
                                                         Page 1Page
                                                                of 4027Page
                                                                       of 79 ID #:3605
Case 2:15-cv-02057-MRW
         Case 5:22-cv-02822-EJD
                          Document
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                                   121-5 Filed
                                          1-2 07/13/17
                                               Filed 05/12/22
                                                         Page 2Page
                                                                of 4028Page
                                                                       of 79 ID #:3606
Case 2:15-cv-02057-MRW
         Case 5:22-cv-02822-EJD
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                                   121-5 Filed
                                          1-2 07/13/17
                                               Filed 05/12/22
                                                         Page 3Page
                                                                of 4029Page
                                                                       of 79 ID #:3607
Case 2:15-cv-02057-MRW
         Case 5:22-cv-02822-EJD
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                                   121-5 Filed
                                          1-2 07/13/17
                                               Filed 05/12/22
                                                         Page 4Page
                                                                of 4030Page
                                                                       of 79 ID #:3608
Case 2:15-cv-02057-MRW
         Case 5:22-cv-02822-EJD
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                                   121-5 Filed
                                          1-2 07/13/17
                                               Filed 05/12/22
                                                         Page 5Page
                                                                of 4031Page
                                                                       of 79 ID #:3609
Case 2:15-cv-02057-MRW
         Case 5:22-cv-02822-EJD
                          Document
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                                   121-5 Filed
                                          1-2 07/13/17
                                               Filed 05/12/22
                                                         Page 6Page
                                                                of 4032Page
                                                                       of 79 ID #:3610
Case 2:15-cv-02057-MRW
         Case 5:22-cv-02822-EJD
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                                   121-5 Filed
                                          1-2 07/13/17
                                               Filed 05/12/22
                                                         Page 7Page
                                                                of 4033Page
                                                                       of 79 ID #:3611
Case 2:15-cv-02057-MRW
         Case 5:22-cv-02822-EJD
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                                   121-5 Filed
                                          1-2 07/13/17
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                                                         Page 8Page
                                                                of 4034Page
                                                                       of 79 ID #:3612
Case 2:15-cv-02057-MRW
         Case 5:22-cv-02822-EJD
                          Document
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                                   121-5 Filed
                                          1-2 07/13/17
                                               Filed 05/12/22
                                                         Page 9Page
                                                                of 4035Page
                                                                       of 79 ID #:3613
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
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                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 10
                                                                Page
                                                                  of 40
                                                                      36 of
                                                                         Page
                                                                            79 ID #:3614
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 11
                                                                Page
                                                                  of 40
                                                                      37 of
                                                                         Page
                                                                            79 ID #:3615
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 12
                                                                Page
                                                                  of 40
                                                                      38 of
                                                                         Page
                                                                            79 ID #:3616
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
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                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 13
                                                                Page
                                                                  of 40
                                                                      39 of
                                                                         Page
                                                                            79 ID #:3617
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 14
                                                                Page
                                                                  of 40
                                                                      40 of
                                                                         Page
                                                                            79 ID #:3618
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 15
                                                                Page
                                                                  of 40
                                                                      41 of
                                                                         Page
                                                                            79 ID #:3619
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 16
                                                                Page
                                                                  of 40
                                                                      42 of
                                                                         Page
                                                                            79 ID #:3620
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 17
                                                                Page
                                                                  of 40
                                                                      43 of
                                                                         Page
                                                                            79 ID #:3621
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 18
                                                                Page
                                                                  of 40
                                                                      44 of
                                                                         Page
                                                                            79 ID #:3622
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 19
                                                                Page
                                                                  of 40
                                                                      45 of
                                                                         Page
                                                                            79 ID #:3623
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 20
                                                                Page
                                                                  of 40
                                                                      46 of
                                                                         Page
                                                                            79 ID #:3624
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 21
                                                                Page
                                                                  of 40
                                                                      47 of
                                                                         Page
                                                                            79 ID #:3625
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 22
                                                                Page
                                                                  of 40
                                                                      48 of
                                                                         Page
                                                                            79 ID #:3626
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 23
                                                                Page
                                                                  of 40
                                                                      49 of
                                                                         Page
                                                                            79 ID #:3627
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 24
                                                                Page
                                                                  of 40
                                                                      50 of
                                                                         Page
                                                                            79 ID #:3628
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 25
                                                                Page
                                                                  of 40
                                                                      51 of
                                                                         Page
                                                                            79 ID #:3629
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 26
                                                                Page
                                                                  of 40
                                                                      52 of
                                                                         Page
                                                                            79 ID #:3630
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 27
                                                                Page
                                                                  of 40
                                                                      53 of
                                                                         Page
                                                                            79 ID #:3631
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 28
                                                                Page
                                                                  of 40
                                                                      54 of
                                                                         Page
                                                                            79 ID #:3632
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 29
                                                                Page
                                                                  of 40
                                                                      55 of
                                                                         Page
                                                                            79 ID #:3633
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 30
                                                                Page
                                                                  of 40
                                                                      56 of
                                                                         Page
                                                                            79 ID #:3634
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 31
                                                                Page
                                                                  of 40
                                                                      57 of
                                                                         Page
                                                                            79 ID #:3635
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 32
                                                                Page
                                                                  of 40
                                                                      58 of
                                                                         Page
                                                                            79 ID #:3636
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 33
                                                                Page
                                                                  of 40
                                                                      59 of
                                                                         Page
                                                                            79 ID #:3637
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 34
                                                                Page
                                                                  of 40
                                                                      60 of
                                                                         Page
                                                                            79 ID #:3638
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 35
                                                                Page
                                                                  of 40
                                                                      61 of
                                                                         Page
                                                                            79 ID #:3639
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 36
                                                                Page
                                                                  of 40
                                                                      62 of
                                                                         Page
                                                                            79 ID #:3640
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 37
                                                                Page
                                                                  of 40
                                                                      63 of
                                                                         Page
                                                                            79 ID #:3641
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
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                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 38
                                                                Page
                                                                  of 40
                                                                      64 of
                                                                         Page
                                                                            79 ID #:3642
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 39
                                                                Page
                                                                  of 40
                                                                      65 of
                                                                         Page
                                                                            79 ID #:3643
Case 2:15-cv-02057-MRW
          Case 5:22-cv-02822-EJD
                          DocumentDocument
                                   121-5 Filed
                                           1-2 07/13/17
                                                Filed 05/12/22
                                                          Page 40
                                                                Page
                                                                  of 40
                                                                      66 of
                                                                         Page
                                                                            79 ID #:3644
Case 5:22-cv-02822-EJD Document 1-2 Filed 05/12/22 Page 67 of 79




             EXHIBIT 8
        Case 5:22-cv-02822-EJD
Case 2:15-cv-02057-JCG         Document
                         Document        1-208/24/17
                                  135 Filed   Filed 05/12/22
                                                       Page 1 Page
                                                              of 12 68 of 79
                                                                     Page  ID #:4008
        Case 5:22-cv-02822-EJD
Case 2:15-cv-02057-JCG         Document
                         Document        1-208/24/17
                                  135 Filed   Filed 05/12/22
                                                       Page 2 Page
                                                              of 12 69 of 79
                                                                     Page  ID #:4009
        Case 5:22-cv-02822-EJD
Case 2:15-cv-02057-JCG         Document
                         Document        1-208/24/17
                                  135 Filed   Filed 05/12/22
                                                       Page 3 Page
                                                              of 12 70 of 79
                                                                     Page  ID #:4010
        Case 5:22-cv-02822-EJD
Case 2:15-cv-02057-JCG         Document
                         Document        1-208/24/17
                                  135 Filed   Filed 05/12/22
                                                       Page 4 Page
                                                              of 12 71 of 79
                                                                     Page  ID #:4011
        Case 5:22-cv-02822-EJD
Case 2:15-cv-02057-JCG         Document
                         Document        1-208/24/17
                                  135 Filed   Filed 05/12/22
                                                       Page 5 Page
                                                              of 12 72 of 79
                                                                     Page  ID #:4012
        Case 5:22-cv-02822-EJD
Case 2:15-cv-02057-JCG         Document
                         Document        1-208/24/17
                                  135 Filed   Filed 05/12/22
                                                       Page 6 Page
                                                              of 12 73 of 79
                                                                     Page  ID #:4013
        Case 5:22-cv-02822-EJD
Case 2:15-cv-02057-JCG         Document
                         Document        1-208/24/17
                                  135 Filed   Filed 05/12/22
                                                       Page 7 Page
                                                              of 12 74 of 79
                                                                     Page  ID #:4014
        Case 5:22-cv-02822-EJD
Case 2:15-cv-02057-JCG         Document
                         Document        1-208/24/17
                                  135 Filed   Filed 05/12/22
                                                       Page 8 Page
                                                              of 12 75 of 79
                                                                     Page  ID #:4015
        Case 5:22-cv-02822-EJD
Case 2:15-cv-02057-JCG         Document
                         Document        1-208/24/17
                                  135 Filed   Filed 05/12/22
                                                       Page 9 Page
                                                              of 12 76 of 79
                                                                     Page  ID #:4016
        Case 5:22-cv-02822-EJD
Case 2:15-cv-02057-JCG         Document
                        Document         1-208/24/17
                                 135 Filed     Filed 05/12/22
                                                       Page 10Page
                                                              of 12 77Page
                                                                       of 79ID #:4017
        Case 5:22-cv-02822-EJD
Case 2:15-cv-02057-JCG         Document
                        Document         1-208/24/17
                                 135 Filed     Filed 05/12/22
                                                       Page 11Page
                                                              of 12 78Page
                                                                       of 79ID #:4018
        Case 5:22-cv-02822-EJD
Case 2:15-cv-02057-JCG         Document
                        Document         1-208/24/17
                                 135 Filed     Filed 05/12/22
                                                       Page 12Page
                                                              of 12 79Page
                                                                       of 79ID #:4019
